           Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 1 of 107 Page ID #:1



     MARTIN D. HOLLY, ESQ. (SBN: 201421)
 1 Telephone/Facsimile: (213) 419-5063
     Email: mholly@rlattorneys.com
 2 ETHAN L. FLINDERS, ESQ. (SBN: 305347)
     Telephone/Facsimile: (213) 634-3672
 3 Email: eflinders@rlattorneys.com
 4 RESNICK & LOUIS, P.C.th
   515 South Flower Street, 18 Floor
 5 Los Angeles, CA 90071
 6 Attorneys for Defendant TARGET CORPORATION
 7
 8                           UNITED STATES DISTRICT COURT
 9            CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
10
   ARIA N., an individual, by and through CASE NO. 2:21-CV-00453
11 Guardian    ad    Litem,     AZADEH
   SHIRAZI; and AZADEH SHIRAZI, an (State Case No. 20STCV35920)
12 individual,
13                  Plaintiffs,                   NOTICE OF REMOVAL OF
14                                                ACTION UNDER 28 U.S.C. §1441(b)
     vs.
15                                                (DIVERSITY); DECLARATION OF
   TARGET CORPORATION, a                          MARTIN D. HOLLY
16 Minnesota Corporation; DOREL
   SPORTS, an unincorporated business
17 entity; PACIFIC CYCLE, INC., a                 Complaint Filed: September 21, 2020
   Delaware Corporation; SCHWINN                  Trial Date:      N/A
18 BICYCLE CO., an unincorporated
   business entity; and DOES 1-100,
19
20                  Defendants.
21
22
23
     TO THE CLERK OF THE ABOVE-ENTITLED COURT:
24
             PLEASE TAKE NOTICE that Defendant TARGET CORPORATION
25
     (hereinafter “Target”) hereby removes to this Court the state court action described
26
     below.
27
             1.    On September 21, 2020, an action was commenced in the Superior Court
28
     of the State of California in and for the County of Los Angeles, entitled ARIA N. v.


                                                  1
                   NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1441(b) (DIVERSITY)
           Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 2 of 107 Page ID #:2




 1 TARGET CORPORATION, et al., a business entity, and DOES 1 through 100,
 2 inclusive, Defendants, as Case Number 20STCV35920 (the “Action”). A true and
 3 correct copy of the Complaint is attached hereto as Exhibit “A.”
 4           2.    Target was first served a copy of the said Complaint on November 13, 2020,
 5 when counsel for Plaintiffs caused to be served, by a process server, a copy of the said
 6 Complaint and Summons on CT Corporation System Los Angeles, CA, Agent
 7 Authorized to Accept Service of Process. A true and correct copy of the transmittal of
 8 Summons and service of process transmittal is attached hereto as Exhibit “B.”
 9           3.    No Statement of Damages or other paper indicating that Plaintiffs’ damages
10 exceeded $75,000 were including with the service of the Complaint. No prelitigation
11 demand was made.
12           4.    On Friday, January 15, 2021, Plaintiffs filed a First Amended Complaint,
13 which is attached hereto as Exhibit “C.”
14           5.    Target is informed and believes that Plaintiffs were, at the time they filed
15 the Action and still are, citizens of the State of California.
16           6.    Target Corporation was, at the time of the filing of this action, and still is,
17 a citizen of the State of Minnesota, incorporated under the laws of the State of
18 Minnesota, with its principal place of business in the State of Minnesota. Both the
19 California Secretary of State and Minnesota Secretary of State identify Target
20 Corporation as a Minnesota Corporation with its principle address at 1000 Nicollet Mall,
21 Minneapolis, Minnesota 55403 on their respective websites. True and correct copies of
22 search results for Target Corporation on those websites are attached hereto as Exhibit
23 “D.”
24           7.    Defendant Pacific Cycle, Inc. is a citizen of Delaware where it is
25 incorporated, and of Wisconsin, where the headquarters are located (in Madison,
26 Wisconsin). A copy of Defendant Pacific Cycle’s corporate information from the
27 California Secretary of State Business Search is attached hereto as Exhibit “E.”
28 / / /



                                                   2
                   NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1441(b) (DIVERSITY)
       Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 3 of 107 Page ID #:3




 1        8.     On November 30, 2020, Plaintiffs filed a Request for Dismissal, dismissing
 2 all actions only against Defendant Schwinn Bicycle Co. and Defendant Dorel Sport. A
 3 copy of the served Request for Dismissal is attached hereto as “F.”
 4        9.     Based on a review of the State Court file as of December 9, 2020, no other
 5 Defendant has been named or served with any summons or complaint.
 6        10.    Based upon Plaintiffs’ counsel’s representations, the amount in controversy
 7 exceeds $75,000. More specifically, in correspondence dated December 7, 2020 from
 8 Plaintiffs’ counsel to counsel for Defendant Pacific Cycle, Inc., Plaintiffs’ counsel
 9 indicated that he was unable to stipulate to cap his clients’ damages at $75,000 and have
10 the matter remain in state court because their damages exceeded that amount.          A true
11 and correct copy of the aforementioned correspondence, which was previously produced
12 by Defendant Pacific Cycle, Inc., is attached hereto as Exhibit “G.”             Counsel for
13 Defendant Target Corporation was not included on the aforementioned email. The first
14 time that counsel for Defendant Target Corporation was made aware that Plaintiffs’
15 alleged damages exceeded $75,000 was on December 17, 2020, when Defendant Pacific
16 Cycle, Inc., filed its Notice of Remand.
17        11.    This action is a civil action of which this Court has original jurisdiction
18 under 28 U.S.C. §1332 and is one which may be removed to this Court by defendant
19 pursuant to the provisions of 28 U.S.C. §1441(a), in that it is a civil action between
20 citizens of different states and the matter in controversy exceeds the sum of $75,000,
21 exclusive of interest and costs.
22        12.    This Notice of Removal is filed with this Court within 30 days after Target
23 was served Plaintiffs’ counsel’s correspondence indicating that this case had a value in
24 excess of $75,000. Therefore, this removal is timely as required by 28 U.S.C. §1446(b)
25 which specifically provides, “If the case stated by the initial pleading is not removable,
26 a notice of removal may be filed within thirty days after receipt by the defendant, through
27 service or otherwise, of a copy of an amended pleading, motion, order or other paper
28 from which it may first be ascertained that the case is one which is or has become



                                                3
                 NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1441(b) (DIVERSITY)
       Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 4 of 107 Page ID #:4




 1 removable, except that a case may not be removed on the basis of jurisdiction conferred
 2 by section 1332 of this title more than 1 year after commencement of the action.” 28
 3 U.S.C.§ 1446 (b).
 4        13.    Pursuant to 28 U.S.C. §1446(a), true and correct copies of all process,
 5 pleadings, and orders sent to and received by Target in the State Court action are attached
 6 hereto.
 7        14.    I have spoken with counsel Defendant Pacific Cycle, Inc., Andrew Kohn
 8 and Carey Eshelman, several times about this removal. They consented to the removal
 9 and indicated that they would be filing a Joinder. Attached as Exhibit “H” is a true and
10 correct copy of the Declaration of Andrew Kohn Regarding Pacific Cycle, Inc.’s
11 Consent to Target Corporation’s Notice of Removal of Action.
12
13 Dated: January 15, 2021                           Respectfully Submitted:
14                                                   RESNICK & LOUIS, P.C.
15
                                           By:          /s/ Martin D. Holly   .
16                                                   Martin D. Holly
17                                                   Ethan L. Flinders
                                                     Attorneys for Defendant,
18                                                   TARGET CORPORATION
19
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                                                 4
                 NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1441(b) (DIVERSITY)
       Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 5 of 107 Page ID #:5




 1                       DECLARATION OF MARTIN D. HOLLY
 2        I, MARTIN D. HOLLY, declare as follows:
 3        1.     I am an attorney at law duly licensed to practice in the courts of the State
 4 of California and am an associate in the firm of Resnick & Louis, P.C., attorneys of
 5 record for defendant TARGET CORPORATION (hereinafter “Target”). I have
 6 personal knowledge of the matters stated herein and, if called upon to testify as a
 7 witness, I could and would competently so testify.
 8        2.     On September 21, 2020, an action was commenced in the Superior Court
 9 of the State of California in and for the County of Los Angeles, entitled ARIA N. v.
10 TARGET CORPORATION, et al., a business entity, and DOES 1 through 100,
11 inclusive, Defendants, as Case Number 20STCV35920 (the “Action”). A true and
12 correct copy of the Complaint is attached hereto as Exhibit “A.”
13        3.     Target was first served a copy of the said Complaint on November 13, 2020,
14 when counsel for Plaintiffs caused to be served, by a process server, a copy of the said
15 complaint and summons on CT Corporation System Los Angeles, CA, Agent
16 Authorized to Accept Service of Process. A true and correct copy of the transmittal of
17 summons and service of process transmittal is attached hereto as Exhibit “B.”
18        4.     No Statement of Damages or other paper indicating that Plaintiffs’ damages
19 exceeded $75,000 were including with the service of the Complaint. No prelitigation
20 demand was made.
21        5.     Plaintiffs filed a First Amended Complaint, which is attached hereto as
22 Exhibit “C” on Friday, January 15, 2021.
23        6.     Target is informed and believes that Plaintiffs were, at the time they filed
24 the Action and still are, citizens of the State of California.
25        7.     Target Corporation was, at the time of the filing of this action, and still is,
26 a citizen of the State of Minnesota, incorporated under the laws of the State of
27 Minnesota, with its principal place of business in the State of Minnesota. Both the
28 California Secretary of State and Minnesota Secretary of State identify Target



                                                 5
                                 DECLARATION OF MARTIN D. HOLLY
       Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 6 of 107 Page ID #:6




 1 Corporation as a Minnesota Corporation with its principle address at 1000 Nicollet Mall,
 2 Minneapolis, Minnesota 55403 on their respective websites. True and correct copies of
 3 search results for Target Corporation on those websites are attached hereto as Exhibit
 4 “D.”
 5        8.    Defendant Pacific Cycle, Inc. is a citizen of Delaware where it is
 6 incorporated, and of Wisconsin, where the headquarters are located (in Madison,
 7 Wisconsin). A copy of Defendant Pacific Cycle’s corporate information from the
 8 California Secretary of State Business Search is attached hereto as Exhibit “E.”
 9        9.    On November 30, 2020, Plaintiffs filed a Request for Dismissal, dismissing
10 all actions only against Defendant Schwinn Bicycle Co. and Defendant Dorel Sport. A
11 copy of the served Request for Dismissal is attached hereto as “F.”
12        10.   Based on a review of the State Court file as of December 9, 2020, no other
13 Defendant has been named or served with any summons or complaint.
14        11.   Based upon Plaintiffs’ counsel’s representations, the amount in controversy
15 exceeds $75,000. More specifically, in correspondence dated December 7, 2020 from
16 Plaintiffs’ counsel to counsel for Defendant Pacific Cycle, Inc., Plaintiffs’ counsel
17 indicated that he was unable to stipulate to cap his clients’ damages at $75,000 and have
18 the matter remain in state court because their damages exceeded that amount.       A true
19 and correct copy of the aforementioned correspondence, which was previously produced
20 by Defendant Pacific Cycle, Inc., is attached hereto as Exhibit “G.”        Counsel for
21 Defendant Target Corporation was not included on the aforementioned email. The first
22 time that counsel for Defendant Target Corporation was made aware that Plaintiffs’
23 alleged damages exceeded $75,000 was on December 17, 2020, when Defendant Pacific
24 Cycle, Inc., filed its Notice of Remand.
25        12.   This action is a civil action of which this Court has original jurisdiction
26 under 28 U.S.C. §1332 and is one which may be removed to this Court by defendant
27 pursuant to the provisions of 28 U.S.C. §1441(a), in that it is a civil action between
28 citizens of different states and the matter in controversy exceeds the sum of $75,000,



                                               6
                                DECLARATION OF MARTIN D. HOLLY
       Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 7 of 107 Page ID #:7




 1 exclusive of interest and costs.
 2        13.    This Notice of Removal is filed with this Court within 30 days after Target
 3 was served Plaintiffs’ counsel’s correspondence indicating that this case had a value in
 4 excess of $75,000. Therefore, this removal is timely as required by 28 U.S.C. §1446(b)
 5 which specifically provides, “If the case stated by the initial pleading is not removable,
 6 a notice of removal may be filed within thirty days after receipt by the defendant, through
 7 service or otherwise, of a copy of an amended pleading, motion, order or other paper
 8 from which it may first be ascertained that the case is one which is or has become
 9 removable, except that a case may not be removed on the basis of jurisdiction conferred
10 by section 1332 of this title more than 1 year after commencement of the action.” 28
11 U.S.C.§ 1446 (b).
12        14.    Pursuant to 28 U.S.C. §1446(a), true and correct copies of all process,
13 pleadings, and orders sent to and received by Target in the State Court action are attached
14 hereto.
15        15.    I have spoken with counsel Defendant Pacific Cycle, Inc., Andrew Kohn
16 and Carey Eshelman, several times about this removal. They consented to the removal
17 and indicated that they would be filing a Joinder. Attached as Exhibit “H” is a true and
18 correct copy of the Declaration of Andrew Kohn Regarding Pacific Cycle, Inc.’s
19 Consent to Target Corporation’s Notice of Removal of Action.
20        I declare under penalty of perjury under the laws of the State of California that
21 the foregoing is true and correct.
22        Executed this 15th day of January, 2021, at Los Angeles, California.
23
24                                           /s/ Martin D. Holly .
25                                         Martin D. Holly, Declarant
26
27
28



                                                7
                                DECLARATION OF MARTIN D. HOLLY
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     E X H I B I T “A”
        Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 9 of 107 Page ID #:9



                                                                  Wolters Kluwer

                         PROCESS SERVER DELIVERY DETAILS




Date:                       Fri, Nov 13, 2020

Server Name:                Brandon Yadegar




Entity Served             • TARGET CORPORATION   .

Agent Name                  CT CORPORATION SYSTEM
                                                                                 -   -]
Case Number                 205TCV35920

Jurisdiction                CA




                                                         1
                        Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 10 of 107 Page ID #:10
Electronically FILED by Superior Court of California, County of Los Angeles on 10/02/20%E9,)Fga18ari R. Carter, Executive Officer/Clerk of Court, by M. Mariano.Deputy Clerk

                                                                                                                                                                       SUM-100
                                                      SUMMONS                                                                        (
                                                                                                                                         FOR COURT USE ONLY
                                                                                                                                      SOLO PARA USO DE L4 CORTE)
                                              (CITACION JUDICIAL)
         NOTICE TO DEFENDANT:
        (AVISO AL DEMANDADO):
           TARGET CORPORATION,a Minnesota Corporation; DOREL SPORTS, an unincorporated
           business entity; PACIFIC CYCLE,INC., a Delaware Corporation; SCHWINN BICYCLE CO., an
           unincorporated business entity; and DOES 1-100
          YOU ARE BEING SUED BY PLAINTIFF:
         (LO ESTA DEMANDANDO EL DEMANDANTE):
           ARIA N., an individual, by and through Guardian ad Litem, AZADEH
           SHIRAZI; and AZADEH SHIRAZI, an individual

            NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
            below.
               You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
           served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
           case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
            Online Self-Help Center (www.couttinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
            the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
            may be taken without further warning from the court.
                There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
            referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
            these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
          (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
           costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
           jAVISOI Lo han demandado. Si no responde dentro de 30 dies, la corte puede decidir en su contra sin escuchar su version. Lea la infonnaci& a
           continuaciOn.
               Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citaciOn y papeles legates para presentar una respuesta por escrito en esta
           corte y hacer que se entregue una copia al demandante. Una carte o una Hamada telefOnica no to protegen. Su respuesta por escrito tiene que ester
           en format° legal correct° si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar pare su respuesta.
           Puede encontrar estos formularios de la corte y mas informed& en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
           biblioteca de /eyes de su condado o en la corte que le quede mas cerca. Si no puede pager la cuota de presentaciOn, pida al secretario de la code
           que le de un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso par incumplimiento y la code le
           podra guitar su sue/do, dinero y bienes sin mas advertencia.
              Hay otros requisitos legates. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
           remisiOn a abogados. Si no puede pager a un abogado, es posible que cumpla con los requisitos pare obtener servicios legates gratuitos de un
           programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
          (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en confacto con la corte o el
          colegio de abogados locales. AVISO:Parley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
           cualquier recuperaci& de $10,0006 mas de valor recibida mediante un acuerdo o una concesi& de arbitraje en un caso de derecho                     Tiene que
           pagar el gravamen de la carte antes de que la code pueda desechar el caso.

         The name and address of the court is:                                                                            CASE NUMBER:
        (El nombre y direccion de la corte es):           SUPERIOR COURT OF CALIFORNIA                                   (NOmero del Caso):
                                                                                                                                              20STCV35920
          COUNTY OF LOS ANGELES
          1 11 N. HILL ST., LOS ANGELES,CA 90012
          The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
         (El nombre, la direccibn y el nOmero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
          ABIR COHEN TREYZON SALO LLP, Justin Eballar, Esq., SBN 294718, 16001 Ventura Blvd., Ste. 200, Encino, CA 91436(424)288-4367

                                              Sherri R. Carter Executive Off8gk,Ib                       lerk   of Court                                               , Deputy
          DATE:
         (Fecha)
                 1 0/02/2020                                                                 (Secretario)               IVI. Mariano                                    (Adjunto)
        (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
        (Para prueba de entrega de esta citatiOn use el formulario Proof of Service of Summons,(POS-010)).
                                          NOTICE TO THE PERSON SERVED: You are served
                                          1.      as an individual defendant.
                                          2.      as the person sued under the fictitious name of (specify):


                                                 3.    Von be          ff of (specify):
                                                                                       Tar ‘-arr-cocich la in                                                        eorraA,h4-1
                                                      under:            CCP 416.10 (corporation)                                   CCP 416.60 (minor)
                                                               ni CCP 416.20(defunct corporation)                                  CCP 416.70 (conservatee)
                                                                  CCP 416.40 (association or partnership)                          CCP 416.90 (authorized person)

                                                                other (specify):
                                                 4. I—I by personal delivery on (date):
                                                                                                                                                                          Page 1 of 1
           Form Adopted for Mandatory Use                                            SUMMONS                                                    Code of Civil Procedure §§412.20,465
             Judicial Council of California                                                                                                                       www.courtinfo.ca.gov
             SUM-100 (Rev. July 1,20091
                       Case
Electronically FILED by Su    2:21-cv-00453
                         lor Court                           Document
                                   of California, County of Los                1 Filed 01/15/21 Page 11 of 107 Page ID #:11
                                                                Angeles on 09/21/2020 10:45 AM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy Clerk
                                                                                    20STCV35920
                                     ,Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Daniel Crowley



                              Boris Treyzon, Esq.(SBN 188893)
                       1
                              btreyzon@actslaw.corn
                      2       Douglas A. Rochen, Esq.(SBN 217231)
                              drochen@actslaw.corn
                              Justin Eballar, Esq.(SBN 294718)
                             jeballar@actslaw.com
                      4       ABIR COHEN TREYZON SALO,LLP
                              16001 Ventura Blvd, Suite 200
                       5
                             Encino, California 91436
                      6       Telephone:(424)288-4367 I Fax:(424)288-4368

                      7       Attorneys for Plaintiffs
                              Aria N. by and through Guardian ad Litem Azadeh Shirazi, and Azadeh Shirazi
                      8
                                                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      9
                                                                      FOR THE COUNTY OF LOS ANGELES
                     10
                             ARIA N., an individual, by and through                                  Case No.: 20STC-V35920
                     11      Guardian ad Litem, AZADEH SHIRAZI;
                     12      and AZADEH SHIRAZI, an individual;                                      COMPLAINT FOR DAMAGES

                     13                             Plaintiff,                                       1. NEGLIGENCE
                              VS.
                     14                                                                              2. STRICT LIABILITY —
                             TARGET CORPORATION,a Minnesota                                             MANUFACTURING DEFECT
                     15
                             Corporation; DOREL SPORTS, an
                                                                         3. STRICT LIABILITY — DESIGN
                     16      unincorporated business entity; PACIFIC
                                                                            DEFECT
                             CYCLE,INC., a Delaware Corporation;
                     17      SCHWINN BICYCLE CO., an                     4. STRICT LIABILITY — FAILURE TO
                             unincorporated business entity; and DOES 1-    WARN
                     18      100
                                                                         5. BREACH OF IMPLIED WARRANTY
                     19                                                     OF MERCHANTABILITY
                    20                              Defendants.                                     6. VIOLATION OF CONSUMER
                                                                                                       PRODUCT SAFETY RULES(15 U.S.C.
                    21                                                                                 2072)
                    22                                                                              7. VIOLATION OF CAL.BUS.& PROF.
                                                                                                       CODE 17200,ETSEQ
                    23

                    24                                                                              8. NEGLIGENT INFLICTION OF
                                                                                                       EMOTIONAL DISTRESS
                    25
                                                                                                     DEMAND FOR JURY TRIAL
                    26
                                                                                                     Action Filed:
                    27
                                                                                                     Trial Date:
                    28



                                                                    COMPLAINT AND DEMAND FOR JURY TRIAL
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 1           Plaintiff Aria N., by and through his Guardian ad Litem, Azadeh Shirazi, and Plaintiff

 2   Azadeh Shirazi, by and through their counsel, Abir Cohen Treyzon Salo, LLP, alleges on

 3   information and belief as follows:

 4                                             I.      PARTIES

 5           1.      At all relevant times, Plaintiff Aria N. is and was minor younger than fourteen

 6   years of age and a resident of the State of California, County of Los Angeles.

 7           2.      At all relevant times, Plaintiff Azadeh Shirazi was the mother of Plaintiff Aria

 8   and a resident of the State of California, County of Los Angeles.

 9           3.      At all relevant times, Defendant Target Corporation ("Target") was and is a

10   corporation duly organized under the laws of Minnesota, headquartered in Minneapolis,

11   Minnesota where its corporate board and high-level officers direct, control, and coordinate the

12   entity's activities.

13           4.      Defendant Target Corporation has sufficient minimum contacts in California and

14   has otherwise intentionally availed itself ofthe California market through its activities marketing,

15   advertising, and sales activities in the State.

16           5.      At all relevant times, Defendant Dorel Sports was and is a business entity of

17   unknown legal status, headquartered in Norwalk, Connecticut where its corporate board and high-

18   level officers direct, control, and coordinate the entity's activities.

19           6.      Defendant Dorel Sports designs, manufactures, markets, distributes, and sells

20   brand name bicycles including Schwinn, Mongoose, Cannondale, and more, all which are heavily

21   advertised, marketed, distributed and sold in the State of California. Defendant Dorel Sports has

22   sufficient minimum contacts in California and has otherwise intentionally availed itself of the

23   California market through these activities.

24           7.      At all relevant times, Defendant Pacific Cycle, Inc.("Pacific Cycle") was and is a

25   corporation duly organized under the laws of Delaware, headquartered in Madison, Wisconsin

26   where its corporate board and high level officers direct, control, and coordinate the entity's

27   activities.

28           8.      Defendant Pacific Cycle is a wholly owned division and subsidiary of Defendant

                                                        2
                                COMPLAINT AND DEMAND FOR JURY TRIAL
 Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 13 of 107 Page ID #:13




 I   Dore! Sports, who, together, are in a joint venture for the manufacture, design, branding,

 2   distribution, and sale of bicycles trademarked with the brand names Schwinn, Mongoose, Kid

 3   Trax, inStep, and Iron Horse, to and by California retail stores.

 4          9.      Defendant Pacific Cycle designs, manufactures, markets, distributes, and sells

 5   brand name bicycles including Schwinn, Mongoose, Kid Trax, inStep, and Iron Horse brand

 6   names, all which are heavily advertised, marketed, distributed and sold in the State of California.

 7   Defendant Pacific Cycle has sufficient minimum contacts in California and has otherwise

 8   intentionally availed itself of the California market through these activities.

 9           10.    At all relevant times, Defendant Schwinn Bicycle Co.("Schwinn") was and is a

10   business entity of unknown legal status with an unknown domicile. Defendant Schwinn was and

11   is responsible for the trademark, design, manufacture, marketing, distribution, and sale of brand

12   name bicycles under the names Schwinn and Mongoose, each of which are heavily advertised,

13   marketed, distributed and sold in the State of California. Defendant Schwinn has sufficient

14   minimum contacts in California and has otherwise intentionally availed itself of the California

15   market through these activities.

16           1 1.   The true names and capacities, whether individual, corporate, associate, or

17   otherwise, of the Defendants named herein under the fictitious names of Does 1 though 100,

18   inclusive, are either unknown to Plaintiffs or, alternatively, the fact or basis of their liability is

19   unknown by Plaintiffs, who, therefore, sue said defendants by such fictitious names. Plaintiffs

20   may seek leave to amend their complaint and insert the true names and capacities of said

21   defendants when the same have been ascertained or when the fact of their respective liability has

22   been established. Plaintiffs are informed and believe and based thereon allege that each defendant

23   designated herein as a "Doe" is legally responsible in some manner, whether negligently, strictly,

24   recklessly, or maliciously, for the events and happenings herein alleged.

25           12.    At all times herein mentioned, each of the Defendants was the alter ego, agent,

26   servant, partner, aider and abettor, co-conspirator and/or joint venturer of each of the other

27   Defendants herein and was at all times operating and acting within the course and scope of said

28   agency, service, employment, partnership, conspiracy and/or joint venture and rendered

                                                       3
                               COMPLAINT AND DEMAND FOR JURY TRIAL
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 1   substantial assistance and encouragement to the other Defendants.

 2           13.       At all times herein mentioned, Defendants were fully informed of the actions of

 3   their agents, servants, partners, aiders and abettors, co-conspirators, joint venturers, and

 4   employees, and thereafter no officer, director or managing agent of Defendants and each ofthem

 5   repudiated those actions, which failure to repudiate constituted adoption and approval of said

 6   actions and all Defendants and each of them, thereby ratified those actions.

 7                                 II.     JURISDICTION AND VENUE

 8           14.       This Court has jurisdiction over all causes of action asserted. Each Defendant

 9   has sufficient minimum contacts in California or otherwise intentionally availed itself of the

10   California market through, without limitation, its design, manufacture, advertisement,

11   promotion, marketing, distribution, sale, or other participation in the stream ofcommerce as it

12   relates to their bicycle sales in the State of California, including but not limited to the

13   manufacture, design, marketing, distribution, and sale of Schwinn Falcon S2000TGI children's

14   bicycle at issue in this case. Defendants' contacts with the State of California are such as to

15   render the exercise ofjurisdiction over them by the California courts consistent with traditional

16   notions of fair play and substantial justice.

17           15.       Venue is proper in Los Angeles County under Code of Civil Procedure section

18   395(a) based on the facts, without limitation, that: this Court is a court of competent jurisdiction;

19   Plaintiff resides in this county; the personal injury alleged herein occurred in this county; the

20   Target Corporation store where the subject bicycle was purchased is located in this county; and

21   all other Defendants conduct substantial business in this county; Defendants' liability arose in

22   this county; and a substantial part of the events or omissions giving rise to this action occurred

23   in this county.

24           16.       This Court has jurisdiction over this matter because the damages alleged herein

25   exceed the minimal jurisdictional limit of this Court. The monetary damages sought by each

26   Plaintiff exceeds $25,000 and will be established according to proof.

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28   ///

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 1                                 III.    GENERAL ALLEGATIONS

 2           17.    Prior to May 14, 2020, Defendant Pacific Cycle, in joint venture with Defendants

 3   Dore! Sports and Schwinn, entered into a distribution agreement with Defendant Target for the

 4   sale of its bicycles, including the Schwinn Falcon S2000TGI children's bicycle ("Schwinn

 5   Falcon"). As part of that agreement, Defendant Pacific Cycle agreed to provide several

 6   Schwinn Falcon bicycles to Target in a partially assembled form with the front wheel removed.

 7           18.     With knowledge ofthe dangers of a poorly inspected and poorly assembled

 8   bicycle and knowing the bicycle would be ridden by children, Defendant Pacific Cycle provided

 9   the partially assembled Schwinn Falcons to Defendant Target without instruction, guidance,

10   training, proof of qualification, and requirements of supervision and accountability as to the

11   proper inspection and assembly of the Schwinn Falcon prior to being sold to consumers.

12           19.    Prior to May 14, 2020, Defendant Target received a Schwinn Falcon with serial

13   number TOP1115A1 (the "Subject Schwinn Falcon") from Defendant Pacific Cycle at its

14   Westwood, Los Angeles store. Before being sold, Defendant Target, using untrained,

15   unqualified, and poorly supervised personnel, then failed to undertake and/or negligently

16   undertook inspection and assembly of the Schwinn Falcon without tools and without training,

17   instruction, supervision, or protocols from the manufacturer or any other authority, and placed it

18   on the sales floor for sale to customers with an appearance of safety and proper assembly.

19          20.     Prior to May 14, 2020, Plaintiff purchased the Subject Schwinn Falcon from

20   Defendant Target with the express and implied assurance and appearance that the bicycle had

21   been properly inspected and assembled prior to its sale. Prior to purchase, Plaintiff's parents

22   requested an unassembled, in-box version ofthe bicycle with all original materials, but were

23   refused and told the bike is only available preassembled. Upon purchase, Plaintiff was provided

24   with the Subject Schwinn Falcon. The sale ofthe brand-new bicycle did not include a manual,

25   instruction guide, pamphlet, or other literature related to the bike, in violation of Federal

26   regulations and industry standards. The bicycle itself contained no warnings related to

27   inspection or assembly.

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 1             21.    The Subject Schwinn Falcon was sold with wheel housings that lacked a positive

 2   lock device, axles that were poorly tightened, wheel housing that were unable to withstand a

 3   minimal amount of torque, lacked positive retention features that ensure the front hub will not

 4   separate from the fork, and a front hub that fails standardized regulatory testing. The Subject

 5   Schwinn Falcon also lacked an instruction manual attached to its frame, lacked an instruction

 6   manual that included the proper substance, and lacked a frame that identified the month and date

 7   of manufacture.

 8             22.   These failures to meet the standard of care also violated consumer protection

 9   standards and regulations intended to protect consumers from purchasing bicycles unsafe for

10   riding.

11             23.   These failures to meet the standard of care were unapparent and unknowable to

12   any ordinary children's bicycle consumer, including Plaintiff and his parents.

13             24.   On May 14, 2020, while safely and reasonably riding the Subject Schwinn

14   Falcon, on the sidewalk of Loring Avenue near Warner Avenue in the Westwood neighborhood

15   ofLos Angeles, California, Plaintiff Aria N., a 9-year-old boy, crashed face first into concrete

16   pavement. The crash occurred as a result of the front wheel and axle coming loose from the

17   front fork housing, causing wobbling and eventually separation of the wheel from the frame of

18   the bike. The preventable crash has caused Plaintiff Aria to suffer serious injuries to his hand

19   and face, including, without limitation, traumatic and long-lasting maxillofacial, endodontic,

20   dental, and orthopedic injuries, among other injuries still unknown.

21             25.   The Subject Schwinn Falcon was purchased by Plaintiff at Defendant Target

22   Corporation's store at 20700 S. Avalon Blvd. in Los Angeles, California ("Carson Target").

23                                   IV.     CLAIMS FOR RELIEF

24                                     FIRST CAUSE OF ACTION

25                                            NEGLIGENCE

26                                (AS AGAINST ALL DEFENDANTS)

27             26.   Plaintiff incorporates by reference all previous paragraphs of this Complaint as if

28   fully set forth herein.

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 1          27.     At all relevant times, Defendants designed, controlled, manufactured, supplied,

 2   assembled, inspected, and sold the Subject Schwinn Falcon.

 3          28.     At all relevant times, Defendants had a duty to ensure that their products placed

 4   or caused to be placed into the stream of commerce were reasonably safe, free of defects,

 5   reasonably fit and suitable for their intended and foreseeable uses, that they contained adequate

 6   warnings and instructions for use, that they conformed to all laws and regulations intended to

 7   protect consumers, including, but not limited to consumer product safety rules.

 8          29.     Defendants breached these duties when they failed, at the time of sale and

 9   thereafter, to provide Plaintiff and/or Plaintiffs parents with manufacturer manuals and

10   warnings relating to assembly and inspection ofthe Subject Schwinn Falcon.

11          30.     Defendants breached these duties when they failed to properly assemble the

12   Subject Schwinn Falcon before its sale to Plaintiff, in violation of industry standards, Federal

13   Hazardous Substances Act regulations, Consumer Protection Safety Act laws, Consumer

14   Protection Safety Act rules and orders, and other laws and standards, including Part 1512 of

15   Title 16 of the Code of Federal Regulations, all of which were designed to protect consumers

16   such as Plaintiff and all those similarly situated to him from the exact harm alleged herein .

17          31.     Defendants breached these duties when they failed to properly inspect the

18   Subject Schwinn Falcon for safety and compliance with applicable standards before its sale to

19   Plaintiff, in violation of industry standards, Federal Hazardous Substances Act regulations,

20   Consumer Protection Safety Act laws, Consumer Protection Safety Act rules and orders, and

21   other laws and standards, including Part 1512 of Title 16 of the Code of Federal Regulations, all

22   of which were designed to protect consumers such as Plaintiff and all those similarly situated to

23   him from the exact harm alleged herein.

24          32.     Defendants breached these duties when they failed to ensure that persons and

25   entities responsible for assembling bicycles at the Carson Target location were trained,

26   instructed, qualified, and supervised in a manner that complied with industry standards, Federal

27   Hazardous Substances Act regulations, Consumer Protection Safety Act laws, Consumer

28   Protection Safety Act rules and orders, and other laws and standards, including Part 1512 of

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 1   Title 16 ofthe Code of Federal Regulations, all of which were designed to protect consumers

 2   such as Plaintiff and all those similarly situated to him from the exact harm alleged herein.

 3           33.     Defendants breached these duties when, with knowledge or an ability to know of

 4   the dangers of riding a poorly assembled bicycle and the likelihood of an improper assembly at

 5   Target stores, failed to warn, or in the alternative, failed to adequately warn, or failed to instruct

 6   Plaintiff and his parents of such dangers and the steps to take to minimize them.

 7           34.     Defendants' conduct failed to use the amount of care in designing,

 8   manufacturing, supplying, inspecting, assembling, and selling the Subject Schwinn Falcon that a

 9   reasonably careful designer, manufacturer, supplier, inspector, assembler, and seller would use

10   in the same or similar circumstances to avoid exposing consumers to foreseeable risks of harm.

11   Defendants knew or should have known that an improperly designed, manufactured, or

12   assembled front wheel housing on a child's bicycle is likely to cause a crash and that crashes

13   have a high likelihood of producing injury, many of which are foreseeably severe. The cost to

14   ensure that the design, manufacturing, and assembly ofthe Schwinn Falcon's front wheel

15   housing mitigates these risks is low cost.

16           35.    Furthermore, Defendants' actions violated provisions of the Federal Hazardous

17   Substances Act, the Consumer Safety Protection Act, the Consumer Protection Safety Act

18   regulations, rules and order, and other laws. Each violation legally and factually caused

19   Plaintiffs' injuries. Such injuries were and are of a nature that these statutes, laws, rules, and

20   orders were designed to prevent, and Plaintiff was among the class of persons for whose

21   protection these statutes, laws, rules, and orders were adopted.

22          36.     These acts and omissions by Defendants were substantial factors in directly and

23   proximately causing Plaintiff Aria's severe, long-lasting injuries.

24          37.     Furthermore, Defendants knew of numerous complaints of poor assembly and

25   manufacturing of bicycles specifically related to Target and other "Big Box" stores, where

26   Defendants distribute, market, and sell their bicycles, including the Schwinn Falcon. With this

27   knowledge, Defendants, with conscious disregard for the safety of their customers, refused to

28   properly train, instruct, supervise, and otherwise ensure their Schwinn Falcon bicycles sold at

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 1   Target stores were assembled by people were qualified to inspect and assemble their bicycles

 2   according to industry standard and state and federal laws, regulations, rules, and orders.

 3           38.     Defendants acted with malice and oppression in willingly risking the safety of

 4   consumers over changing their policies and agreements to comply with their duties under the

 5   law, knowing that some customers, depending on Defendants to comply with laws and safety

 6   standards, would suffer serious injuries because of Defendants' avoidably defective

 7   manufacturing practices. Defendants' despicable conduct warrants an award of exemplary,

 8   punitive damages under Civil Code section 3294.

 9                                       SECOND CAUSE OF ACTION

10                    STRICT PRODUCT LIABILITY — MANUFACTURING DEFECT

11                                   (AS AGAINST ALL DEFENDANTS)

12           39.     Plaintiff incorporates by reference all previous paragraphs of this Complaint as if

13   fully set forth herein.

14          40.      At all relevant times, Defendants Dorel Sports, Pacific Cycle, Schwinn, Target,

15   and Does 1-100 (hereinafter, collectively referred to as "Defendants"), as a joint venture or

16   otherwise, designed, distributed, controlled, manufactured, marketed, inspected, assembled, and

17   sold, Schwinn Falcon children's bicycles to consumers, including Plaintiff Aria and his parents.

18          41.      At all relevant times, the Subject Schwinn Falcon, which was being used and

19   ridden by Plaintiff Aria in a reasonable and foreseeable manner, was dangerous, unsafe, and

20   defective in its manufacturing, including but not limited to, its assembly. The Subject Schwinn

21   Falcon differed from the manufacturer's intended result and from identical Schwinn Falcons of

22   the same product line in that, among other things, its front wheel housing failed to secure the

23   wheel and wheel hub to the front fork housing of the bicycle during normal, foreseeable riding.

24          42.      These manufacturing defect(s) were present in the Subject Schwinn Bicycle

25   when it left each Defendant's possession.

26          43.      These manufacturing defects were a substantial factor in directly and proximately

27   causing Plaintiff Aria's serious and long-lasting injuries.

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 1            44.     Defendants knew of numerous complaints, over several years, of poor assembly

 2    and manufacturing of bicycles specifically related to Target and other "Big Box" stores, where

 3    Defendants distribute, market, and sell their bicycles, including the Schwinn Falcon. With this

 4    knowledge, Defendants, with conscious disregard for the safety of their customers, refused to

 5    properly train, instruct, supervise, and otherwise ensure their Schwinn Falcon bicycles sold at

 6    Target stores were assembled by people were qualified to inspect and assemble their bicycles

 7    according to industry standard and state and federal laws, regulations, rules, and orders.

 8            45.     Defendants acted with malice and oppression in willingly risking the safety of

 9    consumers over changing their policies and agreements to comply with their duties under the

10    law, knowing that some customers, depending on Defendants to comply with laws and safety

11    standards, would suffer serious injuries because of Defendants' avoidably defective

12    manufacturing practices. Defendants' despicable conduct warrants an award ofexemplary,

13    punitive damages under Civil Code section 3294.

14                                      THIRD CAUSE OF ACTION

15                        STRICT PRODUCT LIABILITY — DESIGN DEFECT

16                                (AS AGAINST ALL DEFENDANTS)

17           46.      Plaintiff incorporates by reference all previous paragraphs of this Complaint as if

18    fully set forth herein.

19           47.      The Subject Schwinn Falcon was defective in its design because it did not

20    perform as safely as an ordinary consumer would have expected it to perform.

21           48.       At all relevant times, Defendants designed, fabricated, manufactured, distributed,

22    marketed, and sold the Schwinn Falcon bicycle sold to and used by Plaintiff Aria and his parents.

23           49.      An ordinary consumer would have expected the preassembled Subject Schwinn

24    Falcon bicycle, when used in a reasonable and foreseeable manner, to, among other things,

25   (1) have a front wheel, axle, and tire that sits and locks in securely to its front fork in a manner

26    that does not allow the wheel to wobble, wiggle, or separate from the bicycle's frame;(2) uses

27    nuts and bolts that fasten to the front fork of the bike without failing;(3) have a positive locking

28    device that fastens the wheel hub to the frame and remains tightened when torqued to the

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 1   manufacturer's recommendation; and (4) use a positive retention feature that keeps the wheel on

 2   when the locking devices are loosened.

 3           50.     Given that an unstable and/or separating front wheel has a high likelihood of

 4   causing a catastrophic fall, the risks of the Schwinn Falcon's design "features" or failures do not

 5   outweigh their benefits.

 6           51.     The gravity ofthe potential harm resulting from the use of the defective Schwinn

 7   Falcon is apparent from the injuries in this case which include, without limitation, serious

 8   endodontic, maxillofacial, dental, and orthopedic injuries that will affect Plaintiff Aria for years

 9   and possibly decades to come.

10           52.     Given that the design defect in this case involves, among other things, the front

11   wheel of a child's bicycle, which is an obvious critical component of safe bike riding, there is a

12   high likelihood that, ifthe front wheel fastening mechanism is prone to fail, loosen, insufficiently

13   tighten, or otherwise compromise how securely the front wheel locks into the bike, there is a

14   significant likelihood of a face-forward injury if the wheel loosens, locks up, falls out, or

15   otherwise behaves in any manner other than being securely fastened to the bicycle's frame.

16           53.     In the past and in the present, there have been hundreds and possibly thousands of

17   adult and child bicycle designs that have highly safe front wheel locking mechanisms and fail-

18   safes to ensure nuts and bolts can be properly torqued, fit the front fork housing properly,

19   implement a positive retention feature as a fail-safe, and otherwise minimize front wheel failure

20   in a manner that Defendants were unable to achieve with the instant Schwinn Falcon.

21           54.     There are several inexpensive, well-known, and standardized designs that are safe

22   and are also required by law. Defendants gained no advantage in designing a wheel housing that

23   fails to meet this (these) standard(s).

24           55.     The design defects present in the Schwinn Falcon were a substantial factor in

25   causing Plaintiff's Aria's injuries, both directly and proximately.

26           56.     Defendants knew of numerous complaints, over several years, of poor assembly

27   and manufacturing of bicycles specifically related to Target and other "Big Box" stores, where

28   Defendants distribute, market, and sell their bicycles, including the Schwinn Falcon. With this

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 1   knowledge, Defendants, with conscious disregard for the safety of their customers, refused to

2    properly train, instruct, supervise, and otherwise ensure their Schwinn Falcon bicycles sold at

 3   Target stores were assembled by people were qualified to inspect and assemble their bicycles

4    according to industry standard and state and federal laws, regulations, rules, and orders.

 5           57.     Defendants acted with malice and oppression in willingly risking the safety of

6    consumers over changing their policies and agreements to comply with their duties under the

 7   law, knowing that some customers, depending on Defendants to comply with laws and safety

 8   standards, would suffer serious injuries because of Defendants' avoidably defective

9    manufacturing practices. Defendants' despicable conduct warrants an award ofexemplary,

10   punitive damages under Civil Code section 3294.

11                                    FOURTH CAUSE OF ACTION

12                     STRICT PRODUCT LIABILITY — FAILURE TO WARN

13                                (AS AGAINST ALL DEFENDANTS)

14           58.     Plaintiff incorporates by reference all previous paragraphs of this Complaint as if

15   fully set forth herein.

16           59.     The Subject Schwinn Falcon children's bicycle lacked sufficient instructions and

17   warnings of potential risks involved in its operation in violation of industry laws and standards.

18          60.      At all relevant times, Defendants designed, manufactured, marketed, distributed,

19   and sold the Subject Schwinn Falcon. The Subject Schwinn Falcon had potential risks that were

20   known and/or knowable in light ofthe scientific knowledge that was generally accepted in the

21   scientific community at the time the Schwinn Falcon's manufacture, distribution, and sale.

22          61.      These risks, include, without limitation, the risks of poor assembly by the retail

23   seller, the risks of poor assembly by the manufacturer, the risks of front wheel loosening and/or

24   separation and the best manner for preventing these risks.

25          62.      Given that the bicycle was sold "preassembled" by Defendants, an ordinary

26   consumer would not have recognized an observable risk of poor assembly that can cause a

27   bicycle front wheel to loosen, wobble, or separate from the frame.

28          63.      Defendants failed to adequately warn and instruct ofthese risks.

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 1          64.      When Defendants designed, manufactured, configured, assembled, marketed,

 2   advertised, sold, and provided their Schwinn Falcon children's bicycles, the product contained

 3   defects and risks, including the risk of wheel loosening, wheel wobbling, and wheel separation.

 4   Such defects were known or knowable by the use of scientific knowledge available at the time to

 5   Defendants.

 6          65.     Each known and knowable risk presented a substantial danger when the bicycle is

 7   used in an intended or reasonably foreseeable way.

 8          66.     Plaintiffs were not provided with a product manual or any warnings at any relevant

 9   time. Even if they had, the warnings within the manual would not have adequately warned

10   Plaintiffs ofthe particular risks alleged here.

11          67.     The warnings accompanying the Subject Schwinn Falcon, had they been provided,

12   failed to provide the level ofinformation that an ordinary consumer would expect when using the

13   product in a manner reasonably foreseeable to Defendants.

14          68.     Defendants failed to provide adequate warnings, instructions, guidelines, or

15   admonitions to members ofthe consuming public, including Plaintiff Aria and his parents, of the

16   known and knowable design and manufacturing defects that existed in the Subject Schwinn

17   Falcon.

18          69.     Had Defendants given adequate instructions and warnings related to the assembly

19   and inspection of the Schwinn Falcon, those instructions and warnings could have reduced the

20   risk of harm to members ofthe public, including Plaintiff.

21          70.     Defendants knew of numerous complaints, over several years, of poor assembly

22   and manufacturing of bicycles specifically related to Target and other "Big Box" stores, where

23   Defendants distribute, market, and sell their bicycles, including the Schwinn Falcon. With this

24   knowledge, Defendants, with conscious disregard for the safety of their customers, refused to

25   warn their customers ofthe risks of such poor assembly.

26          71.     Defendants acted with malice and oppression in willingly risking the safety of

27   consumers over changing their policies and agreements to comply with their duties under the

28   law, knowing that some customers, depending on Defendants to comply with laws and safety

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 1   standards, would suffer serious injuries because of Defendants' avoidably defective

 2   manufacturing practices. Defendants' despicable conduct warrants an award ofexemplary,

 3   punitive damages under Civil Code section 3294.

 4                                       FIFTH CAUSE OF ACTION

 5                   BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

 6                    (AS AGAINST DEFENDANT TARGET CORPORATION)

 7             72.    Plaintiff incorporates by reference all previous paragraphs ofthis Complaint as if

 8   fully set forth herein.

 9             73.    Plaintiff Aria's parents bought the Subject Schwinn Falcon from Defendant

10   Target.

11             74.    At the time ofthe purchase, Defendant Target was in the business of selling

12   bicycles, including children's bicycles and held itself out as having special knowledge and skill

13   in bicycle sales and bicycle assembly.

14             75.    The Subject Schwinn Falcon sold to Plaintiff Aria's parents was not of the same

15   quality of a children's bicycle that is generally acceptable in the trade of bicycle riding, was not

16   fit for the ordinary purpose of bicycle riding, did not conform to the quality established by

17   Defendant Target's express and implied representations, did not conform to the quality

18   established by the bicycle industry, and were not merchantable.

19          76.       Plaintiff did not have reason to believe or know that the Subject Schwinn Falcon

20   was not merchantable until he was injured by the bicycles unmerchantability.

21             77.    Plaintiff Aria suffered personal injuries because of the Subject Schwinn Falcon's

22   unknown and unapparent unmerchantability.

23          78.       These design defects were a substantial factor in causing Plaintiff's Aria's injuries,

24   both directly and proximately.

25          79.       Defendants knew numerous complaints, over several years, of poor assembly and

26   manufacturing of bicycles specifically related to Target and other "Big Box" stores, where

27   Defendants distribute, market, and sell their bicycles, including the Schwinn Falcon. With this

28   knowledge, Defendants, with conscious disregard for the safety of their customers, refused to

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 1   properly train, instruct, supervise, and otherwise ensure their Schwinn Falcon bicycles sold at

 2   Target stores were assembled by people were qualified to inspect and assemble their bicycles

 3   according to industry standard and state and federal laws, regulations, rules, and orders.

 4           80.     Defendants acted with malice and oppression in willingly risking the safety of

 5   consumers over changing their policies and agreements to comply with their duties under the

 6   law, knowing that some customers, depending on Defendants to comply with laws and safety

 7   standards, would suffer serious injuries because of Defendants' avoidably defective

 8   manufacturing practices. Defendants' despicable conduct warrants an award of exemplary,

 9   punitive damages under Civil Code section 3294.

10                                         SIXTH CAUSE OF ACTION

11                       VIOLATION OF CONSUMER PRODUCT SAFETY RULES

12                                               (15 U.S.C. 2072)

13                                   (AS AGAINST ALL DEFENDANTS)

14           81.     Plaintiff incorporates by reference all previous paragraphs of this Complaint as if

15   fully set forth herein.

16           82.     Part 2072 of Title 15 of the United States Code creates a private right of action

17   for persons who sustain injury by reason of a knowing or willful violation of a consumer

18   product safety rule or any rule or order issued by the Consumer Product Safety Commission.

19           83.     The Consumer Product Safety Commission (CPSC)issues consumer product

20   safety standards, rules, and regulations specifically for bicycles under 16 C.F.R. 1512.

21          84.      Part 1512 of Title 16 ofthe Code of Federal Regulations sets out requirements

22   for the design, manufacture, and sale of bicycles. It provides, among other things:

23                   a. That wheels shall be secured to the bicycle frame with a positive lock device.

24                   b. That locking devices on threaded axles shall be tightened to the

25                       manufacturer's specifications.

26                  c. That non-quick release front wheel locking devices shall withstand

27                       application of a torque in the direction of removal of 12.5 foot-pounds.

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 I                  d. That non-quick release front hubs shall have a positive retention feature that

 2                      shall be tested in accordance with the front hub retention test under part

 3                       1 512.18(j)(3), to assure that when the locking devices are released the wheel

 4                      will not separate from the fork.

 5                  e. That front wheels shall pass a front hub retention test wherein a force of25-

 6                      points is applied to the hub on a line along the slots in the fork ends when the

 7                      front hub locking devices are released and pass the test by demonstrating that

 8                      the front hub will not separate from the fork without help from the fenders,

 9                      mudguards, struts, or brakes.

10                  f. That a bicycle shall have an instruction manual attached to its frame or

11                      included with the packaged unit.

12                  g. That instruction manuals shall include operations and safety instructions,

13                      assembly instructions, and maintenance instructions.

14                  h. That bicycles shall bear a marking or label secured to the frame in a manner

15                      that cannot be removed, identifying the name ofthe manufacturer and the

16                      month and year of manufacture.

17           85.    Defendants, all sophisticated bicycle designer, manufacturers, assemblers,

18   marketers, and sellers, had notice of each of the foregoing requirements for the manufacture and

19   sale ofthe Subject Schwinn Falcon at all relevant times before, during, and after manufacture

20   and sale. Nonetheless, Plaintiffs knowingly and willfully violated each ofthem.

21           86.    Defendants willful and knowing violations resulted in Plaintiff Aria unknowingly

22   riding a bicycle that was unsafe for its ordinary and foreseeable uses and becoming injured as a

23   result, suffering a broken hand and significant and long-lasting facial, dental, maxillofacial, and

24   endodontic injuries. These injuries greatly exceed $10,000 exclusive of interest, costs, and

25   statutory attorney fees.

26          87.     Defendants violations were a substantial factor in causing Plaintiff Aria's

27   injuries.

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 1           88.     Defendants knew of numerous complaints, over several years, of poor assembly

 2   and manufacturing of bicycles specifically related to Target and other "Big Box" stores, where

 3   Defendants distribute, market, and sell their bicycles, including the Schwinn Falcon. With this

 4   knowledge, Defendants, with conscious disregard for the safety of their customers, refused to

 5   properly train, instruct, supervise, and otherwise ensure their Schwinn Falcon bicycles sold at

 6   Target stores were assembled by people were qualified to inspect and assemble their bicycles

 7   according to industry standard and state and federal laws, regulations, rules, and orders.

 8           89.     Defendants acted with malice and oppression in willingly risking the safety of

 9   consumers over changing their policies and agreements to comply with their duties under the

10   law, knowing that some customers, depending on Defendants to comply with laws and safety

11   standards, would suffer serious injuries as a result of Defendants' avoidably defective

12   manufacturing practices. Defendants' despicable conduct warrants an award of exemplary,

13   punitive damages under Civil Code section 3294.

14                                   SEVENTH CAUSE OF ACTION

15                   VIOLATION OF CAL.BUS.& PROF. CODE 17200,ET SEQ

16                                (AS AGAINST ALL DEFENDANTS)

17          90.      Plaintiff incorporates by reference all previous paragraphs of this Complaint as if

18   fully set forth herein.

19          91.      California Business and Professions Code section 17200 provides that unfair

20   competition shall mean and include all unlawful, unfair, or fraudulent business practices and

21   unfair, deceptive, untrue or misleading advertising, creating a private right of action when a

22   business violates federal or state statutory or common law.

23          92.      It is alleged herein that Defendants have violated several laws and regulations,

24   including without limitation, Federal Hazardous Substances Act regulations, Consumer

25   Protection Safety Act laws, Consumer Protection Safety Act rules and orders, and other laws

26   and standards, including Part 1512 of Title 16 ofthe Code of Federal Regulations pertaining to

27   the manufacture and sale of bicycles. These acts and others, including Defendant's negligent

28   and intentional decisions to manufacture their devices in violation of laws and regulations were

                                                     17
                               COMPLAINT AND DEMAND FOR JURY TRIAL
 Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 28 of 107 Page ID #:28




 1   and are likely to mislead Plaintiffs, constituting unfair business practices under section 17200, et

 2   seq.

 3           93.     These practices constitute unlawful, unfair, and/or fraudulent business acts or

 4   practices within the meaning of section 17200, as well as unfair, deceptive, untrue, and

 5   misleading advertising as prohibited by section 17500 of California's Business and Professions

 6   Code.

 7           94.     As a result ofthis conduct, Defendants have been and will be unjustly enriched.

 8   Specifically, Defendants have been unjustly enriched by their receipt ill-gotten gains for their

 9   manufacture, design, sale, promotion, marketing, assembly, and sale of their Schwinn Falcon

10   bicycles, as a result ofthe acts and omissions alleged herein. Defendants have been unjustly

11   enriched by their receipt these ill-gotten gains in the form of revenues and profits from the sale

12   ofthese devices in California.

13           95.     Plaintiffs seek an order, pursuant to California Business and Professions Code

14   section 17203, compelling Defendants to disgorge the monies collected and profits realized by

15   them as a result of their unfair business practices.

16           96.     This action is necessary to enforce important rights affecting the public interest

17   and will confer a significant pecuniary or nonpecuniary benefit on the general public. This

18   action replaces the necessity and financial burden of private enforcement, warranting attorney

19   fees under Code of Civil Procedure section 1021.5. Such fees should not, in the interest of

20   justice, be paid out ofthe recovery ofPlaintiffs.

21                                    EIGHTH CAUSE OF ACTION

22            NELIGENT INFLICTION OF EMOTIONAL DISTRESS --BYSTANDER

23                               (AS AGAINST ALL DEFENDANTS)

24           97.     Plaintiff incorporates by reference all previous paragraphs ofthis Complaint as if

25   fully set forth herein.

26           98.     Plaintiff Azadeh Shirazi suffered serious emotional distress as a result of

27   perceiving an injury to her son, Plaintiff Aria N.

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                                                      18
                                COMPLAINT AND DEMAND FOR JURY TRIAL
 Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 29 of 107 Page ID #:29




 1           99.    When Plaintiff Aria N. was thrown off of his bike and suffered serious, long-

 2   lasting injuries, Plaintiff Shirazi was present at the scene and contemporaneously witnessed her

 3   9-year-old child's face strike the concrete and the resulting facial, dental, and maxillofacial

 4   injuries that immediately followed. Plaintiff Shirazi, at all times relevant, was aware that the

 5   crash was causing serious injury to her son, Plaintiff Aria N.

 6           100.   As a result of this experience, Plaintiff Shirazi suffered serious emotional

 7   distress.

 8           101.   Defendants' negligence in their design, manufacture, assembly, and failures to

 9   warn related to the Subject Schwinn Falcon are the actual and proximate cause ofPlaintiff

10   Shirazi's serious emotional distress, including but not limited to her suffering, anguish, fright,

11   horror, nervousness, grief, anxiety, worry, shock, humiliation, and shame. These emotions were

12   felt in a manner in which an ordinary, reasonable person would be unable to cope with it.

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                               COMPLAINT AND DEMAND FOR JURY TRIAL
 Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 30 of 107 Page ID #:30




 1                                  V.     PRAYER FOR RELIEF

 2          Wherefore, Plaintiffs Aria N. by and through his Guardian ad Litem, Azadeh Shirazi,

 3   and Azadeh Shirazi, as an individual, request that the Court enter an order ofjudgment against

 4   Defendants Target Corporation, Dorel Sports, Pacific Cycle, Schwinn Bicycle Co., and DOES

 5   1-100 as follows:

 6          1.     For general damages in an amount according to proof;

 7          2.     For special damages in an amount according to proof;

 8          3.     For disgorgement of ill-gotten gains;

 9          4.     For post-judgment interest at the legal rate;

10          5.     For costs of suit incurred;

11          6.     For attorney fees pursuant to 15 U.S.C. 2072 and Code of Civil Procedure

12                 section 1021.5

13          7.     For exemplary or punitive damages;

14          8.     For any other damages to which Plaintiff is entitled under any applicable law;

15                 and

16          9.     For any other and further relief as this Court deems just a proper.

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18

19   Dated: September 4, 2020                              ABIR COHEN TREYZON SALO,LLP

20

21

22                                               By:
                                                           Boris Treyzon, Esq.
23                                                         Douglas A. Rophen, Esq.
                                                           Justin Eballar,jEsq.
24                                                         Attorneys for/Plaintiffs Aria N.,
                                                           by and through Guardian ad Litem,
25                                                         Azadeh Shirazi and Azadeh Shirazi, as an
                                                           individual
26

27

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                                                    20
                              COMPLAINT AND DEMAND FOR JURY TRIAL
 Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 31 of 107 Page ID #:31




 1                                  DEMAND FOR JURY TRIAL

 2         Plaintiff hereby demands trial by jury of all claims and causes of action in this lawsuit.

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 5

 6   Dated: September 4, 2020                            ABIR COHEN TREYZQN ALO,LLP
 7

 8                                               By:
                                                         Boris Treyzon,lEsq.
 9                                                       Douglas A. Rqchen, Esq.
                                                         Justin Eballarasq.
10                                                       Attorneys for Plaintiffs Aria N.,
                                                         by and through Guardian ad Litem,
11                                                       Azadeh Shirazi and Azadeh Shirazi, as an
                                                         individual
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                             COMPLAINT AND DEMAND FOR JURY TRIAL
                        Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 32 of 107 Page ID #:32
Electronically FILED by Superior Court of California, County of Los Angeles on 09/21/20agrogVg§gerri R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy CI
           ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                           FOR COURT USE ONLY
          — Justin Eballar, Esq(SBN 294718)
            Abir Cohen Treyzon Salo, LLP
            16001 Ventura Blvd. Suite 200
           Encino, CA 91436
                   TELEPHONE NO.:424-288-4367          FAx NO.: 424-288-4368
            ATTORNEY FOR (Name): Plaintiff, Aria Nouni
          SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
               STREET ADDRESS: 111 N. Hill St.
               MAILING ADDRESS. Samc
              CITY AND ZIP CODE: Los Angeles, CA 90012

                  BRANCH NAME: Central
             CASE NAME:
             Aria N. v. Target Corporation, Et. Al
                                                                                                                             CASE NUMBER:
              CIVIL CASE COVER SHEET                                          Complex Case Designation
            i      Unlimited                       Limited
                                                                  CounterLiii         Joinder
                                                                                                                                  2OST CV 35920
                   (Amount          (Amount                                                         JUDGE:
                   demanded          demanded is           Filed with first appearance by defendant
                   exceeds $25,000)  $25,000 or less)         (Cal. Rules of Court, rule 3.402)      DEPT:

                                        Items 1-6 below must be completed (see instructions on page 2).
          1. Check one box below for the case type that best describes this case:
               Auto Tort                                              Contract                                Provisionally Complex Civil Litigation
                      Auto (22)                                             Breach of contract/warranty (06) (Cal. Rules of Court, rules 3.400-3.403)
                      Uninsured motorist(46)                                 Rule 3.740 collections(09)              LII    Antitrust/Trade regulation (03)
               Other PI/PD/WD (Personal Injury/Property                      Other collections (09)                  LII    Construction defect(10)
               Damage/Wrongful Death)Tort                                    Insurance coverage (18)                        Mass tort(40)
               Fl    Asbestos (04)
                                                                      Ell Other contract(37)                                Securities litigation (28)
               F-1 Product liability (24)                             Real Property                                         Environmental/Toxic tort(30)
                       Medical malpractice (45)                             Eminent domain/Inverse
                                                                            condemnation (14)
                                                                                                                     LII    Insurance coverage claims arising from the
                                                                                                                            above listed provisionally complex case
               E-1 Other PI/PD/WD (23)
                                                                                                                            types (41)
               Non-Pi/PD/WD(Other) Tort                               LII   Wrongful eviction (33)
                      Business tort/unfair business practice (07)     LIOther real property (26)                     Enforcement of Judgment
                      Civil rights (08)                           Unlawful Detainer                                         Enforcement of judgment(20)
               LII    Defamation (13)                                 LICommercial(31)                               Miscellaneous Civil Complaint
               LII    Fraud (16)                                     = Residential (32)                              El.) RICO (27)
                      Intellectual property (19)                     = Drugs (38)                                           Other complaint (not specified above)(42)
                      Professional negligence (25)                    Judicial Review                                Miscellaneous Civil Petition
                    Other non-PUPD/WD tort(35)                       F7      Asset forfeiture (05)
                                                                                                               Partnership and corporate governance (21)
               Employment                                            Fl Petition re: arbitration award (11) E7 Other petition (not specified above)(43)
                    Wrongful termination (36)                        E-1 Writ of mandate (02)
               En     Other employment(15)                           rj Other judicial review (39)
          2. This case         Ti is            177
                                            is not    complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
             factors requiring exceptional judicial management:
             a. LI Large number of separately represented parties             d. El Large number of witnesses
             b.111 Extensive motion      practice  raising difficult or novel e.     Coordination with related actions pending in one or more courts
                      issues that will be time-consuming to resolve                  in other counties, states, or countries, or in a federal court
               c      Substantial amount of documentary evidence              f. LI Substantial postjudgment judicial supervision
          3.   Remedies sought(check all that apply): a. v/ monetary b.El nonmonetary; declaratory or injunctive relief                                            c. =punitive
          4.   Number of causes of action (specify): 8
          5.   This case       F7is             17
                                           is not a class action suit.
          6.   If there are any known related cases, file and serve a notice of related case.(You may use form CM-015.)
          Date: September 18, 2020
         Justin Eballar, Esq.
                                                                                                                      c                         .
                                            (TYPE OR PRINT NAME)                                                  (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                        NOTICE
           • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
             under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
             in sanctions.
           • File this cover sheet in addition to any cover sheet required by local court rule.
           • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
             other parties to the action or proceeding.
           • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.                                Page 1 of 2
                                                                                                                                 Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
          Form Adopted for Mandatory Use
            Judicial Coundl of California
                                                                      CIVIL CASE COVER SHEET                                             Cal. Standards of Judicial Administration, std. 310
            CM-010[Rev. July 1,20071                                                                                                                                   www.courtinto.ca.gov
             Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 33 of 107 Page ID #:33

                                                                                                                                             CM-010
                                       INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following:(1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                                    AND EXAMPLES
                                                                 CASE TYPES
Auto Tort                                              Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property                    Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                                 Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
     Uninsured Motorist(46)(if the                                  Contract (not unlawful detainer            Construction Defect(10)
          case involves an uninsured                                    or wrongful eviction)                  Claims Involving Mass Tort(40)
          motorist claim subject to                             Contract/Warranty Breach—Seller                Securities Litigation (28)
          arbitration, check this item                              Plaintiff (not fraud or negligence)         Environmental/Toxic Tort(30)
          instead of Auto)                                      Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                                    Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                                Other Breach of Contract/Warranty                    case type listed above)(41)
Tort                                                       Collections (e.g., money owed, open              Enforcement of Judgment
     Asbestos (04)                                              book accounts)(09)                             Enforcement of Judgment(20)
          Asbestos Property Damage                             Collection Case—Seller Plaintiff                     Abstract of Judgment(Out of
                                                               Other Promissory Note/Collections                         County)
          Asbestos Personal Injury/
               Wrongful Death                                       Case                                            Confession of Judgment(non-
    Product Liability (not asbestos or                     Insurance Coverage (not provisionally                         domestic relations)
          toxic./environmental)(24)                            complex)(18)                                         Sister State Judgment
     Medical Malpractice (45)                                  Auto Subrogation                                     Administrative Agency Award
          Medical Malpractice—                                 Other Coverage                                         (not unpaid taxes)
                Physicians & Surgeons                      Other Contract(37)                                       Petition/Certification of Entry of
          Other Professional Health Care                       Contractual Fraud                                       Judgment on Unpaid Taxes
                Malpractice                                    Other Contract Dispute                               Other Enforcement of Judgment
                                                       Real Property                                                     Case
    Other PI/PD/WD (23)
          Premises Liability (e.g., slip                   Eminent Domain/Inverse                           Miscellaneous Civil Complaint
                                                               Condemnation (14)                               RICO (27)
               and fall)
          Intentional Bodily Injury/PD/WD                  Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                                    above)(42)
               (e.g., assault, vandalism)                  Other Real Property (e.g., quiet title)(26)
                                                                                                                    Declaratory Relief Only
          Intentional Infliction of                            Writ of Possession of Real Property                  Injunctive Relief Only (non-
                Emotional Distress                              Mortgage Foreclosure                                     harassment)
          Negligent Infliction of                              Quiet Title                                          Mechanics Lien
                Emotional Distress                             Other Real Property (not eminent                     Other Commercial Complaint
          Other PI/PD/WD                                       domain, landlord/tenant, or
                                                                                                                         Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                      foreclosure)
                                                                                                                    Other Civil Complaint
     Business Tort/Unfair Business                     Unlawful Detainer                                               (non-tort/non-complex)
         Practice (07)                                     Commercial(31)
                                                                                                            Miscellaneous Civil Petition
    Civil Rights (e.g., discrimination,                    Residential (32)                                    Partnership and Corporate
         false arrest)(not civil                           Drugs(38)(if the case involves illegal                   Governance (21)
          harassment)(08)                                      drugs, check this item; otherwise,              Other Petition (not specified
    Defamation (e.g., slander, libel)                          report as Commercial or Residential)                 above)(43)
          (13)                                         Judicial Review                                              Civil Harassment
    Fraud (16)                                             Asset Forfeiture (05)                                    Workplace Violence
     Intellectual Property(19)                             Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
    Professional Negligence (25)                           Writ of Mandate (02)                                          Abuse
         Legal Malpractice                                     Writ—Administrative Mandamus                         Election Contest
         Other Professional Malpractice                        Writ—Mandamus on Limited Court                       Petition for Name Change
            (not medical or legal)                                 Case Matter                                      Petition for Relief From Late
      Other Non-Pl/PD/WD Tort(35)                              Writ—Other Limited Court Case                             Claim
Employment                                                         Review                                           Other Civil Petition
     Wrongful Termination (36)                             Other Judicial Review (39)
    Other Employment(15)                                       Review of Health Officer Order
                                                               Notice of Appeal—Labor
                                                                   Commissioner Appeals
CM-010[Rev. July 1,20071                                                                                                                      Page 2 of 2
                                                            CIVIL CASE COVER SHEET
     or yOur proteition and PrhiacyTplea'se press,the Cleir,This Form
            •    button after you have printed the form                           Save This Form          Print This Form       i;Cleaf,Thie,FOrrni
                              Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 34 of 107 Page ID #:34

  SHORT TITLE'                                                                                                       CASE NUMBER
                             Noun v. Target Corporation

                                            CIVIL CASE COVER SHEET ADDENDUM AND
                                                    STATEMENT OF LOCATION
                             (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                             This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




                 Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                         Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

                  Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

                 Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                         chosen.
                                                    Applicable Reasons for Choosing Court Filing Location(Column C)


1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.                    7. Location where petitioner resides.
2. Permissive filing in central district.                                                           8. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                                            9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                                             10. Location of Labor Commissioner Office.
                                                                                                   11. Mandatory filing location (Hub Cases — unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                                   non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                             A                                                            B                                                       C
                                 .Civil Case Cover Sheet                   ,                       Type of Action                                      Applicable Reasons,-
                                      Category No.                                               „(Check only ma).                                      See Step 3Above
                                              .           ...„

                                        Auto (22)                0 A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                1,4, 11
   0
                         o
   <                             Uninsured Motorist(46)          0 A7110 Personal Injury/Property Damage/VVrongful Death — Uninsured Motorist          1, 4, 11


                                                                 0 A6070 Asbestos Property Damage                                                      1, 11
                                     Asbestos(04)
                                                                  CI A7221 Asbestos - Personal Injury/Wrongful Death                                   1, 11

                                  Product Liability(24)          I21 A7260 Product Liability (not asbestos or toxic/environmental)
                                                                                                                                                       1,4'0

                                                                 0 A7210 Medical Malpractice - Physicians & Surgeons                                   1,4, 11
    Other Personal Inj




                                 Medical Malpractice(45)
                                                                 0 A7240 Other Professional Health Care Malpractice                                    1,4, 11


                                                                 CI A7250 Premises Liability (e.g., slip and fall)                                     1,4, 11
                                     Other Personal
                                     Injury Property             0 A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,               1,4, 11
                                    Damage Wrongful                      assault, vandalism, etc.)
                                       Death (23)                                                                                                      1,4, 11
                                                                 0 A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                       1,4, 11
                                                                 CI A7220 Other Personal Injury/Property Damage/Wrongful Death




  LACIV 109(Rev 2/16)                                            CIVIL CASE COVER SHEET ADDENDUM                                                   Local Rule 2.3
  LASC Approved 03-04                                               AND STATEMENT OF LOCATION                                                         Page 1 of 4
                        Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 35 of 107 Page ID #:35

SHORT TITLE:                                                                                           CASE NUMBER
                        Noun v. Target Corporation

                                     A                                                        'B •                                            C Applicable
                           Civil Case Cover Sheet                                      Type of Action                                      Reasons - See Step 3
                                                                                      (Check only ono),,,,,,. .                                  Ahove,

                             Business Tort(07)          0 A6029 Other Commercial/Business Tort(not fraud/breach of contract)              1, 2,3

                               Civil Rights(08)         0 A6005 Civil Rights/Discrimination                                               1, 2,3

                               Defamation(13)           0 A6010 Defamation (slander/libel)                                                1, 2,3

                                 Fraud (16)             0 A6013 Fraud (no contract)                                                        1,2,3

                                                        0 A6017 Legal Malpractice .                                                       1, 2,3
                        Professional Negligence(25)
                                                        0 A6050 Other Professional Malpractice (not medical or legal)                      1, 2,3

                                  Other(35)             0 A6025 Other Non-Personal Injury/Property Damage tort                             1, 2,3

                          Wrongful Termination (36)     0 A6037 Wrongful Termination                                                      1, 2,3

                                                        0 A6024 Other Employment Complaint Case                                            1, 2,3
                           Other Employment(15)
                                                        0 A6109 Labor Commissioner Appeals                                                 10

                                                        0 A6004 Breach of Rental/Lease Contract(not unlawful detainer or wrongful
                                                                                                                                          2, 5
                                                                eviction)
                         Breach of Contract/ Warranty                                                                                     2, 5
                                    (06)                0 A6008 Contract/Warranty Breach -Seller Plaintiff(no fraud/negligence)
                              (not insurance)                                                                                             1, 2,5
                                                        0 A6019 Negligent Breach of ContractNVarranty(no fraud)
                                                                                                                                          1, 2,5
                                                        0 A6028 Other Breach of ContracWVarranty(not fraud or negligence)

                                                        0 A6002 Collections Case-Seller Plaintiff                                         5, 6, 11
                               Collections(09)
    0
                                                        0 A6012 Other Promissory Note/Collections Case                                    5, 11
    C
                                                        0 A6034 Collections Case-Purchased Debt(Charged Off Consumer Debt                 5, 6, 11
                                                                Purchased on or after January 1, 2014)
                          Insurance Coverage (18)       0 A6015 Insurance Coverage (not complex)                                          1, 2, 5, 8

                                                        0 A6009 Contractual Fraud                                                         1, 2, 3, 5
                             Other Contract(37)         0 A6031 Tortious Interference                                                     1, 2, 3, 5
                                                        0 A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)             1, 2,3, 8,9

                           Eminent Domain/Inverse                                                         Number of parcels               2,6
                                                        0 A7300 Eminent Domain/Condemnation
                             Condemnation (14)

                            Wrongful Eviction (33)      0 A6023 Wrongful Eviction Case                                                    2,6

                                                        0 A6018 Mortgage Foreclosure                                                      2, 6
                          Other Real Property(26)       0 A6032 Quiet Title                                                               2, 6
                                                        0 A6060 Other Real Property(not eminent domain, landlord/tenant, foreclosure)     2, 6

                        Unlawful Detainer-Commercial 0 A6021 Unlawful Detainer-Commercial(not drugs or wrongful eviction)                 6, 11
                                    (31)
    Unlawful Detainer




                        Unlawful Detainer-Residential   0 A6020 Unlawful Detainer-Residential(not drugs or wrongful eviction)             6, 11
                                   (32)
                             Unlawful Detainer-                                                                                           2,6, 11
                                                        0 A6020F Unlawful Detainer-Post-Foreclosure
                            Post-Foreclosure(34)
                         Unlawful Detainer-Drugs(38)    0 A6022 Unlawful Detainer-Drugs                                                   2, 6, 11



 LACIV 109(Rev 2/16)                                    CIVIL CASE COVER SHEET ADDENDUM                                                 Local Rule 2.3

 LASC Approved 03-04                                       AND STATEMENT OF LOCATION                                                      Page 2 of 4
                                               Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 36 of 107 Page ID #:36

SHORT TITLE:                                                                                                                    CASE NUMBER
                                               Noun v. Target Corporation

                                                ,. .,.,.     A                                                                          . -.....         .. '''C Applical?fe''
                                                   Civil Case Cover Sheet ..:                            •.      Type of Action..   . .. . .       .      Reasons - See Step 3
                                                         Category No.                                           (Check only one)                                Above

                                                    Asset Forfeiture(05)         0 A6108 Asset Forfeiture Cage                                            2, 3,6

                                                  Petition re Arbitration (11)   0 A6115 Petition to Compel/ConfirmNacate Arbitration                     2, 5
             Judicial Review




                                                                                 0 A6151 Writ- Administrative Mandamus                                    2,8
                                                    Writ of Mandate(02)          0 A6152 Writ - Mandamus on Limited Court Case Matter                    2
                                                                                 0 A6153 Writ - Other Limited Court Case Review                          2

                                                 Other Judicial Review(39)       0 A6150 Other Writ /Judicial Review                                     2,8

                                               Antitrust/Trade Regulation (03) 0 A6003 Antitrust/Trade Regulation                                         1, 2,8
            Provisionally Complex Litigation




                                                  Construction Defect(10)        0 A6007 Construction Defect                                             1, 2,3

                                                 Claims Involving Mass Tort
                                                                                 0 A6006 Claims Involving Mass Tort                                       1, 2,8
                                                           (40)

                                                  Securities Litigation (28)     0 A6035 Securities Litigation Case                                      1, 2,8

                                                         Toxic Tort
                                                                                 0 A6036 Toxic Tort/Environmental                                         1, 2,3,8
                                                     Environmental(30)

                                                 Insurance Coverage Claims
                                                                                 0 A6014 Insurance Coverage/Subrogation(complex case only)                1, 2, 5,8
                                                   from Complex Case(41)

                                                                                 0 A6141 Sister State Judgment                                           2, 5, 11
                                                                                 0 A6160 Abstract of Judgment                                            2,6
   Enforcement




                                                        Enforcement              0 A6107 Confession of Judgment(non-domestic relations)                  2,9
                                                      of Judgment(20)            0 A6140 Administrative Agency Award (not unpaid taxes)                  2, 8
                                                                                 0 A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax        2,8
                                                                                 0 A6112 Other Enforcement of Judgment Case                              2, 8,9

                                                          RICO (27)              0 A6033 Racketeering(RICO)Case                                          1, 2,8
  Civil Complaints
   Miscellaneous




                                                                                 0 A6030 Declaratory Relief Only                                         1, 2,8

                                                     Other Complaints            0 A6040 Injunctive Relief Only (not domestic/harassment)                2,8
                                                 (Not Specified Above)(42)       0 A6011 Other Commercial Complaint Case (non-tort/non-complex)          1, 2,8
                                                                                 0 A6000 Other Civil Complaint (non-tort/non-complex)                    1, 2,8

                                                  Partnership Corporation                                                                                2,8
                                                                                 0 A6113 Partnership and Corporate Governance Case
                                                     Governance(21)

                                                                                 0 A6121 Civil Harassment                                                2, 3,9
  Miscellaneous
  Civil Petitions




                                                                                 0 A6123 Workplace Harassment                                            2, 3, 9
                                                                                 0 A6124 Elder/Dependent Adult Abuse Case                                2, 3,9                  .
                                                     Other Petitions(Not
                                                    Specified Above)(43)         0 A6190 Election Contest                                                2
                                                                                 0 A6110 Petition for Change of Name/Change of Gender                    2, 7
                                                                                 0 A6170 Petition for Relief from Late Claim Law                         2, 3,8
                                                                                 0 A6100 Other Civil Petition                                            2, 9




 LACIV 109(Rev 2/16)                                                             CIVIL CASE COVER SHEET ADDENDUM                                       Local Rule 2.3
 LASC Approved 03-04                                                                AND STATEMENT OF LOCATION                                            Page 3 of 4
                Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 37 of 107 Page ID #:37

 SHORT TITLE:                                                                         CASE NUMBER
                Nouni v. Target Corporation


Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
           type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
           (No address required for class action cases).

                                                                  ADDRESS:
   REASON:                                                         Warner Ave. and      Loring Ave.
    0 1. 0 2.0 3. 0 4.0 5. 06.07. 08.0 9.0 10. I 11.



   CITY:                                  STATE:     ZIP CODE:

   Los Angeles                            CA         90024


Step 5: Certification of Assignment: I certify that this case is properly filed in the Central                         District of
           the Superior Court of California, County of Los Angeles[Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: September 18, 2020
                                                                                  (SIGNATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
       1. Original Complaint or Petition.
       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.

       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04(Rev.
          02/16).
       5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.

       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          m ust be served along with the summons and complaint, or other initiating pleading in the case.




  LACIV 109(Rev 2/16)                    CIVIL CASE COVER SHEET ADDENDUM                                            Local Rule 2.3
  LASC Approved 03-04                       AND STATEMENT OF LOCATION                                                    Page 4 of 4
                                                          Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 38 of 107 Page ID #:38


                                                                                                                                                                               CIV-010
                                               ATTORNEY(Name, Stale Sat number and addiass).
                                                                                                                                                       FOR COURT USE ONLY
                                               Justin Eballar, Esq. SBN [294718]
                                               ABIR COHEN TREYZON SALO, LLP
                                               16001 Ventura Blvd., Suite 200, Encino, CA 91436

                                                                       (424)288-4367
                                                          TELEPHONE NO.:                                  FAX NO.(Optlor70: (424)288-7529
                                                                       jeballar@actslaw.com
                                                E.MAIL ADDRESS(Optional):                                                                                  FILED
                                                    ATTORNEY FOR(Name): Plaintiffs, Aria N., Azadeh Shirazi                                    &valor Cain of California
                                                                                                                                                County of Los Angolot
                                               SUPERIOR COURT OF CALIFORNIA,COUNTY OF Los Angeles
                                                STREET ADDRESS; 111 N. Hill St.                                                                     09/24/2020
                                                MAILING ADDRESS: Same                                                                       ssiP Cal% Executive Otrut (led alCalist
                                               ciry AND ZIP cope Los Angeles, CA 90012                                                               M. Valetallela      ceputy
                                                   BRANCH NAME: Central

                                                        PLAINTIFF/PETITIONER: Aria N., Azadeh Shirazi
                                                DEFENDANT/RESPONDENT: Target Corporation, et at.
                                                              APPUCATION AND ORDER FOR APPOINTMENT                                     CASE NUMBER:

                                                                       OF GUARDIAN AD LITEM—CIVIL
                                                                              F7 EX PARTE                                                 203T CV35920
                                                    NOTE: This form is for use in civil proceedings In which a party is a minor, an Incapacitated person, Of a person for
                                                    whom a conservator has been appointed. A party who seeks the appointment of a guardian ad Mem in a family law or
                                                   juvenile proceeding should use form FL-935. A party who seeks the appointment ofa guardian ad (item in a probate
                                                   proceeding should use form DE-350/GC-100. An Individual cannot act as a guardian ad Nem unless he or she is
                                                   represented by an attorney or Is an attorney.

                                                  Applicant(name):Azadeh Shirazi                                                                      is
                                                  a. = the parent of (name): Aria N.
                                                   b. ni the guardian of (name):
                                                  c. ni the conservator of (name):
Electronically Received 09/21/2020 10:45 AM




                                                  d. El a party to the suit.
                                                  e. F-7 the minor to be represented (if the minor is 14 years ofage or older).
                                                  f.       another interested person (specify capacity):
                                              2. This application seeks the appointment of the following person as guardian ad litem state name, address, and telephone number):
                                                 Azadeh Shirazi
                                                 10535 Wilshire Blvd.
                                                 Los Angeles, CA 90024
                                                 (310)801-0680
                                              3. The guardian ad litem is to represent the interests of the following person (slate name, address, and telephone number):
                                                 Aria N.
                                                 10535 Wilshire Blvd.
                                                 Los Angeles, CA 90024

                                              4. The person to be represented is:
                                                    1 1 a minor (date of birth):08/22/2011
                                                 a. -
                                                 b. F-1 an incompetent person.
                                                 c.       a person for whom a conservator has been appointed.
                                              5. The court should appoint a guardian ad litem because: .
                                                 a. = the person named in item 3 has a cause or causes of action on which suit should be brought (describe):
                                                          Plaintiff Aria N. is a minor younger than 14-years old and cannot represent his own interests. He was injured after the
                                                          front wheel of a bicycle designed, manufactured,and sold by defendants failed, causing him to crash.



                                                              El Continued on Attachment 5a.

                                                                                                                                                                               Page 1 of 2

                                                                                                                                                                     Code of ad Procedure.
                                              Form Adopted tor Mandatory Use                   APPLICATION AND ORDER FOR APPOINTMENT                                          § 372 el seq.
                                                Judicial Carnal of California
                                               CIV-0510 (Rev. January 1,20081                        OF GUARDIAN AD LITEM—CIVIL
            Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 39 of 107 Page ID #:39



      PLAINTIFF/PETITIONER: Aria Noun, Azadeh Shlrazi                                             CASE NUMBER:

   DEFENDANT/RESPONDENT: Target Corporation, et al.


 5. b.              more than 10 days have elapsed since the summons in the above-entitled matter was served on the person named
                    in item 3, and no application for the appointment of a guardian ad (item has been made by the person identified in
                    item 3or any other person.
      c. F-1 the person named in item 3 has no guardian or conservator of his or her estate.

      d.   rx      the appointment of a guardian ad litem is necessary for the following reasons (specify):
                   Plaintiff Aria N.Is a minor younger than 14-years old and cannot represent his own Interests. He was Injured after the
                   front wheel of a bicycle designed, manufactured,and sold by defendants failed, causing him to crash.



                            Continued on Attachment 5d.

6. The proposed guardian ad litem's relationship to the person he or she will be representing is:
   a. I—I related (state relationship): Mother
      b. F-1 not related (specify capacity):
 7. The proposed guardian ad litem is fully competent and qualified to understand and protect the rights of the person he or she will
    represent and has no interests adverse to the interests of that person. (If there are any issues of competency or qualification or
    any possible adverse Interests, describe and explain why the proposed guardian should nevertheless be appointed):
     Proposed guardian ad !item, Azadeh Shirazi, has no adverse interests nor issues of competency that would prevent her from fully
     protecting the rights of her son, Plaintiff Aria Nouni



     ni       Continued on Attachment 7.

Justin Eballar, Esq.
                                (TYPE OR PRINT NAME)                                                (6101)IATURE OF ATTORNEY)

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
Date: 0918/2020


Azadeh Shirazi
                                (TYPE OR PRINT NAME)                                                (SIGNATURE OF APPLICANT)


                                                       CONSENT TO ACT AS GUARDIAN AD LITEM
I consent to the appointment as guardian ad litem under the above petition.
Date: 09/18/2020

Azadeh Shirazi
                                (TYPE OR PRINT NAME)                                        (SIGNATURE OF PROPOSED GUARDIAN AD MEM)


                                               ORDER MI EX PARTE
THE COURT FINDS that it is reasonable and necessary to appoint a guardian ad (item for the person named in item 3 of the
application, as requested.
THE COURT ORDERS that(name): Azadeh Shirazi
is hereby appointed as the guardian ad (item for (name): Aria N.
for the reasons set forth in item 5 of the application.

Date:    09/24/2020                                                                 .                 JUDICIAL OFFICER
                                                                                                  C. Edward Simpson /Judge
                                                                                                FOLLOWS LAST ATTACHMENT
                                                                                    SIGNATURE


CIV-010 (Rev. January 1,20081            APPUCATION AND ORDER FOR APPOINTMENT                                                         Page 2 of 2

                                                   OF GUARDIAN AD LITEM—CIVIL
For your protection and privacy, please press the Clear
This Form button after you have printed the form.       r* ".'r7N.*
                                                            t --- )- • Save this form                                           I't Ijj tII;11
        Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 40 of 107 Page ID #:40

                                                               FILED                    2020-SJ-002-0
                                                       Superior Court of California
                                                          County of Los Angeles

                                                             FEB 24 2020
 1
 2                                                                              DIP*

 3                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 4                              FOR THE COUNTY OF LOS ANGELES
 5
    IN RE PERSONAL INJURY                           )CASE NO.:
 6
    COURT("PI COURT")PROCEDURES
 7 SPRING STREET COURTHOUSE                         )FIRST AMENDED STANDING ORDER
   (EFFECTIVE FEBRUARY 24,2020)                     )RE: PERSONAL INJURY PROCEDURES
 8                                                  )AT THE SPRING STREET COURTHOUSE
 9
10
11.               ALL HEARINGS ARE SET IN THE DEPARTMENT AS
                  REFLECTED IN THE NOTICE OF CASE ASSIGNMENT
12
                  FINAL STATUS CONFERENCE:
13
14                           DATE:                                   AT 10:00 A.M.

15                TRIAL:
16                                                                    AT 8:30 A.M.
                             DATE:
17
                  OSC RE DISMISSAL
18               (CODE CIV.PROC., 583.210):
19                                                                    AT 8:30 A.M.
                             DATE:
20
21          TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:

22          Pursuant to the California Code of Civil Procedure ("C.C.P."), the California Rules of

23    Court ("C.R.C.") and the Los Angeles County Court Rules ("Local Rules"), the Los Angeles
24    Superior Court ("LASC" or "Court") HEREBY AMENDS AND SUPERSEDES THE
25    SEPTEMBER 26, 2019 STANDING ORDER AND,GENERALLY ORDERS AS FOLLOWS
26    IN THIS AND ALL OTHER GENERAL JURISDICTION PERSONAL INJURY ("PI")
27    ACTIONS FILED IN THE CENTRAL DISTRICT.
28    /1/


                                                Page 1 of7

             First Amended Standing Order Re Personal Injury Procedures, Spring Street Courthouse
       Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 41 of 107 Page ID #:41

                                                                                        2020-SJ-002-00




 1    1.      To ensure proper assignment to a PI Court, plaintiff(s) must carefully fill out the Civil
 2     Case Cover Sheet Addendum (form LACIV 109). The Court defines "personal injury" as:"an
 3     unlimited civil case described on the Civil Case Cover Sheet Addendum and Statement of
 4     Location (LACIV 109) as Motor Vehicle-Personal Injury/Property Damage/Wrongful Death;
 5     Personal Injury/Property Damage/Wrongful Death-Uninsured Motorist; Product Liability
 6    (other than asbestos or toxic/environmental); Medical Malpractice-Physicians & Surgeons;
 7     Other Professional Health Care Malpractice; Premises Liability; Intentional Bodily
 8     Injury/Property Damage/Wrongful Death;or Other Personal Injury/Property Damage/Wrongful
 9     Death. An action for intentional infliction of emotional distress, defamation, civil
10     rights/discrimination, or malpractice (other than medical malpractice), is not included in this
11     definition. An action for injury to real property is not included in this definition"(Local Rule
12    2.3(a)(1)(A)).
13           Consistent with Local Rule 2.3(a)(1)(A), the Court will assign a case to the PI Courts if
14    plaintiff(s) checks any of the following boxes in the Civil Case Cover Sheet Addendum:
15                   O A7100 Motor Vehicle — Personal Injury/Property Damage/Wrongful Death
16                   O A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured
17                       Motorist
18                  O A7260 Product Liability (not asbestos or toxic/environmental)
19                   O A7210 Medical Malpractice — Physicians & Surgeons
20                   O A7240 Medical Malpractice — Other Professional Health Care Malpractice
23.                  O A7250 Premises Liability (e.g., slip and fall)
22                  O A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
23                       assault, vandalism etc.)
24                  O A7220 Other Personal Injury/Property Damage/Wrongful Death
25           The Court will not assign cases to the PI Courts if plaintiff(s)checks any boxes elsewhere
26    in the Civil Case Cover Sheet Addendum (any boxes on pages two and three of that form).
27           The Court sets the above dates in this action in the PI Court as reflected in the Notice of
28    Case Assignment at the Spring Street Courthouse, 312 North Spring Street, Los Angeles, CA


                                                 Page 2 of 7

             First Amended Standing Order Re Personal Injury Procedures, Spring Street Courthouse
      Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 42 of 107 Page ID #:42

                                                                                         2020-SJ-002-00




 1   90012(C.R.C. Rules 3.714(b)(3), 3.729).
 2   FILING OF DOCUMENTS
 3   2.      With the exception of self-represented litigants or parties or attorneys that have obtained
 4   an exemption from mandatory electronic filing, parties must electronically file documents.
 5   Filings are no longer accepted via facsimile. The requirements for electronic filing are detailed
 6   in the Court's operative General Order Re Mandatory Electronic Filing for Civil,available online
 7   at www.lacourt.org (link on homepage).
 8   SERVICE OF SUMMONS AND COMPLAINT
 9   3.      Plaintiff(s) shall serve the summons and complaint in this action upon defendant(s) as
10   soon as possible but no later than three years from the date when the complaint is filed
11 (C.C.P. § 583.210, subd. (a)). On the OSC re Dismissal date noted above, the PI Court will

12   dismiss the action and/or all unserved parties unless the plaintiff(s) shows cause why the action
13   or the unserved parties should not be dismissed (C.C.P. §§ 583.250; 581,subd.(b)(4)).
14   4.     The Court sets the above trial and final status conference("FSC")dates on the condition
15   that plaintiff(s) effectuate service on defendant(s)of the summons and complaint within six
16   months of filing the complaint.
17   5.     The PI Court will dismiss the case without prejudice pursuant to Code of Civil Procedure
18   § 581 when no party appears for trial.
19   STIPULATIONS TO CONTINUE TRIAL
20   6.     Provided that all parties agree (and there is no violation of the "five-year rule"(C.C.P.
21   § 583.310)), the parties may advance or continue any trial date in the PI Courts without showing
22   good cause or articulating any reason or justification for the change. To continue or advance a
23   trial date, the parties (or their counsel of record)should jointly execute and submit a Stipulation
24   to Continue Trial,FSC and Related Motion/Discovery Dates(form LACIV CTRL-242,available
25   on the court's website, Personal Injury Court link). The PI Courts schedule FSCs at 10:00 a.m.,
26   eight court days before the trial date. Parties seeking to continue the trial and FSC dates shall
27   file the stipulation at least eight court days before the FSC date. Parties seeking to advance the
28   trial and FSC dates shall file the stipulation at least eight court days before the proposed advanced


                                                 Page 3of7

             First Amended Standing Order Re Personal Injury Procedures, Spring Street Courthouse
       Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 43 of 107 Page ID #:43

                                                                                        2020.S47-002-0




 1   FSC date (C.C.P. § 595.2; Govt. Code § 70617, subd. (c)(2)). In selecting a new trial date,
 2    parties should avoid setting on any Monday, or the Tuesday following a court holiday. Parties
 3    may submit a maximum of two stipulations to continue trial, for a total continuance of six
 4    months. Subsequent requests to continue trial will be granted upon a showing of good cause by
 5   noticed motion. This rule is retroactive so that any previously granted stipulation to continue
 6   trial will count toward the maximum number of allowed continuances.
 7   NO CASE MANAGEMENT CONFERENCES
 8   7.     The PI Courts do not conduct case management conferences. The parties need not file a
 9   Case Management Statement.
10   LAW AND MOTION
11   8.     Any and all electronically-filed documents must be text searchable and bookmarked.
12 (See operative General Order re Mandatory Electronic Filing in Civil).

13   COURTESY COPIES REQUIRED
14   9.     Pursuant to the operative General Order re Mandatory Electronic Filing, courtesy
15   copies of certain documents must be submitted directly to the PI Court courtrooms at the
16   Spring Street Courthouse. The PI Courts also strongly encourage the parties filing and
17   opposing lengthy motions,such as motions for summary judgment/adjudication, to submit one
18   or more three-ring binders organizing the courtesy copy behind tabs. Any courtesy copies of
19   documents with declarations and/or exhibits must be tabbed (C.R.C. Rule 3.1110(f)). All
20   deposition excerpts referenced in briefs must be marked on the transcripts attached as exhibits
21 (C.R.C. Rule 3.1116(c)).

22   RESERVATION HEARING DATE
23   10.    Parties must reserve hearing dates for motions in the PI Courts using the Court
24   Reservation System (CRS) available online at www.lacourt.org (link on homepage). After
25   reserving a motion hearing date, the reservation requestor must submit the papers for filing with
26   the reservation receipt number printed on the face page of the document under the caption and
27   attach the reservation receipt as the last page. Parties or counsel who are unable to utilize the
28   online CRS may reserve a motion hearing date by calling the PI courtroom, Monday through


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             First Amended Standing Order Re Personal Injury Procedures, Spring Street Courthouse
       Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 44 of 107 Page ID #:44

                                                                                          2020-SJ-002-00




 1   Friday, between 3:00 p.m. and 4:00 p.m.
 2   WITHDRAWAL OF MOTIONS
 3    1 1.   California Rules of Court, Rule 3.1304(b) requires a moving party to notify the court
 4   immediately if a matter will not be heard on the scheduled date. In keeping with that rule, the
 5   PI Courts require parties to comply with Code of Civil Procedure section 472(a) with regard to
 6   the amending of pleadings related to demurrers or motions to strike so that the PI Courts do not
'7   needlessly prepare tentative rulings for these matters.
 8   DISCOVERY MOTIONS
 9   12.     The purpose of an Informal Discovery Conference ("IDC") is to assist the parties to
10   resolve and/or narrow the scope ofdiscovery disputes. Lead trial counsel on each side,or another
11   attorney with full authority to make binding agreements, must attend in person. The PI judges
12   have found that, in nearly every case, the parties amicably resolve disputes with the assistance
13   of the Court.
14   13.     Parties must participate in an IDC before a Motion to Compel Further Responses to
15   Discovery will be heard unless the moving party submits evidence, by way of declaration, that
16   the opposing party has failed or refused to participate in an IDC. Scheduling or participating in
17   an IDC does not automatically extend any deadlines imposed by the Code of Civil Procedure for
18   noticing and filing discovery motions. Ideally, the parties should participate in an IDC before a
19   motion is filed because the IDC may avoid the necessity of a motion or reduce its scope. Because
20   of that possibility, attorneys are encouraged to stipulate to extend the 45(or 60)day deadline for
21   filing a motion to compel further discovery responses in order to allow time to participate in an
22   DC.
23           If parties do not stipulate to extend the deadlines, the moving party may file the motion
24   to avoid it being deemed untimely. However, the IDC must take place before the motion is
25   heard so it is suggested that the moving party reserve a date for the motion hearing that is at least
26   60days after the date when the IDC reservation is made. Motions to Compel Further Discovery
27   Responses are heard at 10:00 a.m. If the DC is not productive, the moving party may advance
28   the hearing on a Motion to Compel Further Discovery Responses on any available hearing date


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             First Amended Standing Order Re Personal Injury Procedures, Spring Street Courthouse
      Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 45 of 107 Page ID #:45

                                                                                        2020-SJ-002-00




 1   that complies with the notice requirements of the Code of Civil Procedure.
 2    14.    Parties must reserve IDC dates in the PI Courts using CRS, which is available online at
 3    www.lacourt.org(link on homepage). Parties must meet and confer regarding the available dates
 4   in CRS prior to accessing the system. After reserving the IDC date, the reservation requestor
 5    must file and serve an Informal Discovery Conference Form for Personal Injury Courts (form
 6   LACIV 239)at least 15 court days prior to the conference and attach the CRS reservation receipt
 7   as the last page. The opposing party may file and serve a responsive IDC form, briefly setting
 8 forth that party's response, at least ten court days prior to the UDC.
 9   15.    Time permitting, the PI Hub judges may be available to participate in IDCs to try to
10   resolve other types of discovery disputes.
11   EX PARTE APPLICATIONS
12    16.   Under the California Rules of Court, courts may only grant ex pane relief upon a
13   showing, by admissible evidence, that the moving party will suffer "irreparable harm,"
14 "immediate danger," or where the moving party identifies "a statutory basis for granting relief

15   ex parte" (C.R.C. Rule 3.1202(c)). The PI Courts have no capacity to hear multiple ex parte
16 applications or to shorten time to add hearings to their fully booked motion calendars. The PI
17   Courts do not regard the Court's unavailability for timely motion hearings as an "immediate
18   danger" or threat of "irreparable harm" justifying ex parse relief. Instead of seeking ex pane
19   relief, the moving party should reserve the earliest available motion hearing date (even if it is
20   after the scheduled trial date) and file a motion to continue trial. Parties should also check
21   CRS from time to time because earlier hearing dates may become available as cases settle or
22   hearings are taken off calendar.
23   REQUEST FOR TRANSFER TO INDEPENDENT CALENDAR DEPARTMENT
24   17.    Parties seeking to transfer a case from a PI Court to an Independent Calendar ("IC")
25   Court shall file and serve the Court's "Motion/Opposition/Stipulation to Transfer Complicated
26   Personal Injury Case to Independent Calendar Court"(form LACIV 238,available on the Court's
27   website under the PI Courts link). The PI Courts will transfer a matter to an IC Court if the case
28   is not a "Personal Injury" case as defined in this Order,or if it is "complicated." In determining


                                                  Page 6 of 7
                                   .
                                   ..




             First Amended Standing Order Re Personal Injury Procedures, Spring Street Courthouse
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                                                                                         2020-SJ-002-0




 1    whether a personal injury case is "complicated" the PI Courts will consider, among other things,
 2    the number of pretrial hearings or the complexity of issues presented.
 3    18.       Parties opposing a motion to transfer have five court days to file an Opposition (using
 4    the same LACIV 238 Motion to Transfer form).
 5    19.      The PI Courts will not conduct a hearing on any Motion to Transfer to IC Court. Although
 6    the parties may stipulate to transfer a case to an Independent Calendar Department,the PI Courts
 7    will make an independent determination whether to transfer the case or not.
 8    FINAL STATUS CONFERENCE
 9    20.      Parties shall comply with the requirements of the PI Courts' operative Standing Order
10    Re Final Status Conference, which shall be served with the summons and complaint.
3.1   JURY FEES
12    21.      Parties must pay jury fees no later than 365 calendar days after the filing of the initial
13    complaint(C. C. P. § 631,subd.(c)(2)).
14    JURY TRIALS
15    22.      The PI Courts do not conduct jury trials. On the trial date, a PI Court will contact the
16    Master Calendar Court, Department One, in the Stanley Mosk Courthouse. Department One
17    will assign cases for trial to dedicated Civil Trial Courtrooms and designated Criminal
18    Courtrooms.
19    SANCTIONS
20    23.      The Court has discretion to impose sanctions for any violation of this general order
21 (C.C.P. §§ 128.7, 187 and Gov. Code,§ 68608, subd.(b)).

22

23

24    Dated:
                 R, . azi-)a-09-0
                                                    SAMANTHA P. SSNER
25
                                                    Supervising Judge of Civil Courts
26

27

28



                                                  Page 7 of7

               First Amended Standing Order Re Personal Injury Procedures, Spring Street Courthouse
     Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 47 of 107 Page ID #:47




 1                                                                                                 2020-SJ-004-00
                                                                            FILED
 2                                                                  Superior Court of California
                                                                      County of Los Angeles
 3
                                                                         FEB 24 2020
 4

 5

 6

 7                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8                   FOR THE COUNTY OF LOS ANGELES — CENTRAL DISTRICT
 9

10
   IN RE PERSONAL INJURY CASES                           ) THIRD AMENDED STANDING ORDER
11 ASSIGNED TO THE PERSONAL INJURY                       ) RE: FINAL STATUS CONFERENCE,
   COURTS AT THE SPRING STREET                           ) PERSONAL INJURY ("Pr') COURTS
12 COURTHOUSE                                            ) (Effective January 13, 2020)
13

14           The dates for Trial and the Final Status Conference("FSC") having been set in this matter,
15    the COURT HEREBY AMENDS AND SUPERSEDES ITS August 9, 2019 STANDING
16    ORDER RE:FINAL STATUS CONFERENCE,PERSONAL INJURY("PI")COURTS AND,
17    GENERALLY ORDERS AS FOLLOWS IN THIS AND ALL OTHER GENERAL
18    JURISDICTION PERSONAL INJURY ACTIONS:
19

20   1.      PURPOSE OF THE FSC
21           The purpose of the FSC is to verify that the parties/counsel are completely ready to proceed
22    with trial continuously and efficiently, from day to day, until verdict. The PI Courts will verify at the
23   FSC that all parties/counsel have(1) prepared the Exhibit binders and Trial Document binders and (2)
24    met and conferred in an effort to stipulate to ultimate facts, legal issues, motions in limine, and the
25   authentication and admissibility of exhibits.
26   ///
27   ///
28   ///
                                                      Page 1 of 5

                 THIRD AMENDED ORDER RE FINAL STATUS CONFERENCE,PERSONAL INJURY COURTS
                                         (Effective January 13, 2020)
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 I    2.     TRIAL DOCUMENTS TO BE FILED
 2           At least five calendar days prior to the Final Status Conference, the parties/counsel shall serve
 3    and file the following Trial Readiness Documents:
 4           A.         TRIAL BRIEFS(OPTIONAL)
 5           Each party/counsel may, but is not required to, file a trial brief succinctly identifying:
 6                  (1)the claims and defenses subject to litigation;
 7                  (2)the major legal issues (with supporting points and authorities);
                    (3)the relief claimed and calculation of damages sought; and
                    (4)any other information that may assist the court at trial.
10           B.         MOTIONS IN LIMINE
11           Before filing motions in limine, the parties/counsel shall comply with the statutory notice
12    provisions of Code of Civil Procedure ("C.C.P.")Section 1005 and the requirements of Los Angeles
13    County Court Rule("Local Rule") 3.57(a). The caption of each motion in limine shall concisely
14    identify the evidence that the moving party seeks to preclude. Parties filing more than one motion in
15    limine shall number them consecutively. Parties filing opposition and reply papers shall identify the
18   corresponding motion number in the caption of their papers.
17           C.         JOINT STATEMENT TO BE READ TO THE JURY
18           Forjury trials, the parties/counsel shall work together to prepare and file a joint written
19   statement of the case for the court to read to the jury(Local Rule 3.25(g)(4)).
20           D.         JOINT WITNESS LIST
21           The parties/counsel shall work together to prepare and file a joint list of all witnesses that
22   each party intends to call, excluding impeachment and rebuttal witnesses(Local Rule 3.25(g)(5)).
23   The joint witness list shall identify each witness by name,specify which witnesses are experts,
24   estimate the length of the direct, cross examination and re-direct examination (if any)of each, and
25   include a total of the number of hours for all witness testimony. The parties/counsel shall identify all
26   potential witness scheduling issues and special requirements. Any party/counsel who seeks to elicit
27   testimony from a witness not identified on the witness list must first make a showing of good cause to
28   the trial court.
                                                     Page 2 of 5

                  THIRD AMENDED ORDER RE FINAL STATUS CONFERENCE,PERSONAL INJURY COURTS
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 1           E.       LIST OF PROPOSED JURY INSTRUCTIONS
 2                    (JOINT AND CONTESTED)
 3           The parties/counsel shall jointly prepare and file a list of proposed jury instructions, organized
 4    in numerical order, specifying the instructions upon which all sides agree and the contested
 5    instructions, if any. The List of Proposed Jury Instructions must include a space by each instruction
 6    for the judge to indicate whether the instruction was given.
 7           F.       JURY INSTRUCTIONS
 a                    (JOINT AND CONTESTED)
 9           The parties/counsel shall prepare a complete set of full-text proposed jury instructions, editing
10   all proposed California Civil Jury Instructions and insert party name(s) and eliminate blanks,
11    brackets, and irrelevant material. The parties/counsel shall prepare special instructions in a format
12    ready for submission to the jury with the instruction number, title, and text only (i.e., there should be
13    no boxes or other indication on the printed instruction itself as to the requesting party).
14           G.       JOINT VERDICT FORM(S)
15           The parties/counsel shall prepare and jointly file a proposed general verdict form or special
16    verdict form (with interrogatories) acceptable to all sides(Local Rule 3.25(g)(8)). If the
17    parties/counsel cannot agree on a joint verdict form,each party must separately file a proposed
18    verdict form.
19           H.       JOINT EXHIBIT LIST
20           The parties/counsel shall prepare and file a joint exhibit list organized with columns
21   identifying each exhibit and specifying each party's evidentiary objections, if any, to admission of
22   each exhibit. The parties/counsel shall meet and confer in an effort to resolve objections to the
23   admissibility of each exhibit.
24           I.       PAGE AND LINE DESIGNATION FOR
25                    DEPOSITION AND FORMER TESTIMONY
26           If the parties/counsel intend to use deposition testimony or former trial testimony in lieu of
27   any witness's live testimony, the parties/counsel shall meet and confer and jointly prepare and file a
28   chart with columns for each of the following: 1) the page and line designations of the deposition or
                                                     Page Sot 5

                  THIRD AMENDED ORDER RE FINAL STATUS CONFERENCE,PERSONAL INJURY COURTS
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 1    former testimony requested for use, 2)objections, 3)counter-designations,4)any responses thereto,
 2    and 5)the Court's ruling.
 3   3.      EVIDENTIARY EXHIBITS
 4           The parties/counsel shall jointly prepare (and be ready to temporarily lodge for inspection at
 5    the FSC)three sets of tabbed, internally paginated by document, and properly-marked exhibits,
     organized numerically in three-ring binders(a set for the Court, the Judicial Assistant and the
 7    witnesses). The parties/counsel shall mark all non-documentary exhibits and insert a simple written
 a   description of the exhibit behind the corresponding numerical tab in the exhibit binder. If the parties
 9    have a joint signed exhibit list and electronic copies of their respective exhibits, then the
10    parties/counsel will not be required to produce exhibit binders at the FSC. However,the exhibit
11   binders will be required by the assigned trial judge when the trial commences. In the absence of
12   either a joint signed exhibit list or electronic copies, exhibit binders will be required to be produced
13   by all parties/counsel at the FSC.
14   4.      TRIAL BINDERS REQUIRED IN THE PI COURTS
15           The parties/counsel shall jointly prepare (and be ready to temporarily lodge and include the
16   following for inspection at the FSC)the Trial Documents consisting ofconformed copies (if
17   available), tabbed and organized into three-ring binders with a table of contents that includes the
18   following:
19           Tab A:          Trial Briefs(Optional)
20           Tab B:          Motions in Limine
21           Tab C:          Joint Statement to Be Read to the Jury
22           Tab D:          Joint Witness List
23           Tab E:          Joint List of Jury Instructions (identifying the agreed upon and contested
24                           instructions)
25           Tab F:          Joint and Contested Jury Instructions
26           Tab G:          Joint and/or Contested Verdict Form(s)
27           Tab H:          Joint Exhibit List
28
                                                      Page 4 of 5

                  THIRD AMENDED ORDER RE FINAL STATUS CONFERENCE,PERSONAL INJURY COURTS
                                          (Effective January 13, 2020)
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 1             Tab I:         Joint Chart of Page and Line Designation(s)for Deposition and
 2                            Former Testimony
 3             Tab J:         Copies of the Current Operative Pleadings (including the operative complaint,
 4                            answer,cross-complaint, if any, and answer to any cross-complaint).
 5             The parties/counsel shall organize motions in limine (tabbed in numerical order) behind Tab
 6    B with the opposition papers and reply papers for each motion placed directly behind the moving
 7    papers. The parties shall organize proposed jury instructions behind Tab F, with the agreed upon
 8    instructions first in order followed by the contested instructions (including special instructions)
 9    submitted by each side.
10   5.        FAILURE TO COMPLY WITH FSC OBLIGATIONS
11             The court has discretion to require any party/counsel who fails or refuses to comply with this
12    Amended Standing Order to Show Cause why the Court should not impose monetary, evidentiary
13    and/or issue sanctions(including the entry of a default or the striking of an answer).
14

15

16    Dated:     rt.b P.+)74045'
                                                    SAMANTHA P. JESSNER
17
                                                    Supervising Judge of Civil Courts
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                                                     Page 5 of 5

                  THIRD AMENDED ORDER RE FINAL STATUS CONFERENCE,PERSONAL INJURY COURTS
                                          (Effective January 13, 2020)
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                                                                                            2020-S.7-003-00

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                                                             Superior Court of California
                                                               County of Los Angeles
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 5                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 6                              FOR THE COUNTY OF LOS ANGELES
 7
       IN RE PERSONAL INJURY CASES                   )FIFTH AMENDED STANDING ORDER
 8
       ASSIGNED TO PERSONAL INJURY                   )RE: MANDATORY SETTLEMENT
 9     COURTROOMS AT THE SPRING                      )CONFERENCE
       STREET COURTHOUSE                             )(Effective February 24, 2020)
10

11

12     TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:

13            Pursuant to California Code of Civil Procedure,the California Rules of Court and

14     the Los Angeles Court Rules, the Los Angeles Superior Court ("Court") HEREBY

15     AMENDS AND SUPERSEDES THE September 26, 2019 FOURTH AMENDED

16    STANDING ORDER,AND THE COURT HEREBY ISSUES THE FOLLOWING FIFTH

17     AMENDED STANDING ORDER:

18            The Court orders the parties to participate in a Mandatory Settlement Conference

19    ("MSC") supervised by a Personal Injury Court Judge and staffed by volunteer settlement

20     attorneys from the American Board of Trial Advocates, the Association of Southern California

21     Defense Counsel, and the Consumer Attorneys Association of Los Angeles.

22            I. Plaintiffs counsel shall, within two(2) court days of the Court's order of an MSC,

23               access the Consumer Attorneys Association of Los Angeles("CAALA") website, at

24               www.caala.org, and under "The LASC COURT CONNECTION" click on "LA

25               Superior Court PI MSC (Parties)," to register and schedule a mutually agreed upon

26               time for the MSC prior to the trial date.

2'7          2. A mandatory settlement conference statement shall be served on all parties not less

28               than five(5)court days before the scheduled MSC. Parties' counsel shall serve




                       FIFTH AMENDED STANDING ORDER - MANDATORY SETTLEMENT CONFERENCE
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                                                                                        2020-S7-O03-0



 1                 opposing counsel,CAALA at stuart@caala.org, and the Court by email. Email
 2                 addresses for the PI courtrooms can be found on the Court's website at
 3                 www.lacourt.org, under "Division" go to "Civil", then go to "General Jurisdiction
 4                PI Court" then click on "PI Courtroom Email Addresses". CAALA will forward
 5                 the mandatory settlement conference statements to the settlement attorneys.
 6             3. Pursuant to California Rules of Court, Rule 3.1380(b) and Los Angeles Superior
 7                 Court Rule 3.25(d), trial counsel, the parties and persons, including insurance
 8                 company representatives with full settlement authority, must attend in person unless
                   the settlementjudge excuses personal appearance for good cause.
10             4. If the case settles prior to the scheduled MSC, Plaintiffs counsel shall notify the
11                specific Courtroom,forthwith,ofsuch settlement by email and also CAALA by email
12                 to stuart@caala.org.
13             5. Parties and counsel are ordered to appear in in the assigned Personal Injury
14                Courtroom at the scheduled time and date of the MSC as selected by the parties'
15                counsel.
16             6. The Court has the discretion to require any party and/or counsel who fails or refuses
17                 to comply with this order to show cause why the Court should not impose monetary
18                sanctions.
19

20

23.   Dated:      r40.
                                                    SAMANTHA P. JESSNER
22
                                                    Supervising Judge of Civil Courts
23

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                        FIFTH AMENDED STANDING ORDER - MANDATORY SETTLEMENT CONFERENCE
   Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 54 of 107 Page ID #:54




                               VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                  The Early Organizational Meeting Stipulation, Discovery
                               Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California   voluntary stipulations entered into by the parties. The parties
County of Los Angeles

                               may enter into one, two, or all three of the stipulations;
                               however, they may not alter the stipulations as written,
 LACBA                         because the Court wants to ensure uniformity of application.
Los Angeles County
Bar Association                These stipulations are meant to encourage cooperation
Litigation Section

Los Angeles County
                               between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section         manner that promotes economic case resolution and judicial
                               efficiency.

           t!     Algt1,1f:
                                   The following organizations endorse the goal of
Consumer Attorneys
Association of Los Angeles     promoting efficiency in litigation and ask that counsel
                               consider using these stipulations as a voluntary way to
                               promote communications and procedures among counsel
                               and with the court to fairly resolve issues in their cases.

                               •Los Angeles County Bar Association Litigation Section*
Southern California
Defense Counsel
                                        •Los Angeles County Bar Association
41.1C04111:*
          40 51ffialtails
                                             Labor and Employment Law Section*
             tO1.1341,


Association of
Business Trial Lawyers             *Consumer Attorneys Association of Los Angeles*


                                        *Southern California Defense Counsel*


                                       *Association of Business Trial Lawyers*

California Employment
Lawyers Association
                                    *California Employment Lawyers Association*


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    LASC Approved 4-11
    For Optional Use
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NAME AA O ADDRESS OF ATTORNEY OR PARTY INITHOUT ATTORNEY:                STATE BAR NUMBER            Roamed far Clerks Rae Stamp




          TELEPHONE NO.:                                    FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

PLAINTIFF:

DEFENDANT:

                                                                                            CASE NUMBER:

           STIPULATION — EARLY ORGANIZATIONAL MEETING

       This stipulation Is intended to encourage cooperation among the parties at an early stage in
       the litigation and to assist the parties In efficient case resolution.

       The parties agree that:

       1. The parties commit to conduct an initial conference (in-person or via teleconference or via
          videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
          whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered "core." In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                "core.");

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f. Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                phases of the case. Also, when and how such issues can be presented to the Court;

              g.   Whether or when the case should be scheduled with a settlement officer, what discovery or
                   court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                   and whether the parties wish to use a sitting judge or a private mediator or other options as
        LACIV 229(Rev 02/15)
        LASC Approved 04/11               STIPULATION — EARLY ORGANIZATIONAL MEETING                                       Page 1 of 2
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SHORT TRIM                                                                      CASE NUMBER:




             discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
             complaint;

     h. Computation of damages, including documents, not privileged or protected from disclosure, on
        which such computation is based;

     i.      Whether the case is suitable for the Expedited Jury Trial procedures (see information. at
             www.lacourtorq under "Civil" and then under "General Information").

2.           The time for a defending party to respond to a complaint or cross-complaint will be extended
             to                         for the complaint, and                             for the cross-
                      (INSERT DATE)                                       (INSERT DATE)
             complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
             and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
             been found by the Civil Supervising Judge due to the case management benefits provided by
             this Stipulation. A copy of the General Order can be found at www.lacourtom under "Civil',
             click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

3.           The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
             and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
             results of their meet and confer and advising the Court of any way it may assist the parties'
             efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
             the Case Management Conference statement, and file the documents when the CMC
             statement is due.

4.           References to "days" mean calendar days, unless otherwise noted. If the date for performing
             any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
             for performing that act shall be extended to the next Court day

The following parties stipulate:
Date:

                (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
Date:

                (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDANT)
Date:

                (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDANT)
Date:

                (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDANT)
Date:

                (TYPE OR PRINT NAME)                                (ATTORNEY FOR
Date:

                (TYPE OR PRINT NAME)                                (ATTORNEY FOR
Date:

                (TYPE OR PRINT NAME)                                (ATTORNEY FOR


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LASC Approved 04111         STIPULATION — EARLY ORGANIZATIONAL MEETING                                 Page 2 of 2
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY.                STATE BAR NUMBER           Reserved ON Cle.File Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                          CASE NUMBER:
                    STIPULATION — DISCOVERY RESOLUTION

       This stipulation is intended to provide a fast and informal resolution of discovery issues
       through limited paperwork and an informal conference with the Court to aid in the
       resolution of the issues.

       The parties agree that:

       1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
          the moving party first makes a written request for an Informal Discovery Conference pursuant
          to the terms of this stipulation.

       2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
          and determine whether it can be resolved informally. Nothing set forth herein will preclude a
          party from making a record at the conclusion of an Informal Discovery Conference, either
          orally or in writing.

       3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
          presented, a party may request an Informal Discovery Conference pursuant to the following
          procedures:

                   a. The party requesting the Informal Discovery Conference will:

                       i.     File a Request for Informal Discovery Conference with the clerk's office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;

                      ii.     Include a brief summary of the dispute and specify the relief requested; and

                     iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                              that ensures that the opposing party receives the Request for Informal Discovery
                              Conference no later than the next court day following the filing.

                   b. Any Answer to a Request for Informal Discovery Conference must:

                       i.      Also be filed on the approved form (copy attached);

                      ii.      Include a brief summary of why the requested relief should be denied;
        LACIV 036(new)
        UNSC Approved 04/11                     STIPULATION — DISCOVERY RESOLUTION
        For Optional Use                                                                                              Page lot 3
   Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 58 of 107 Page ID #:58


SHORT 11TLE:                                                                   CASE NUMBER




               iii.   Be filed within two (2) court days of receipt of the Request; and

               iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                      method of service that ensures that the opposing party receives the Answer no
                      later than the next court day following the filing.

      c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
         be accepted.

      d. If the Court has not granted or denied the Request for Informal Discovery Conference
         within ten (10) days following the filing of the Request, then it shall be deemed to have
         been denied. If the Court acts on the Request, the parties will be notified whether the
         Request for Informal Discovery Conference has been granted or denied and, if granted,
         the date and time of the Informal Discovery Conference, which must be within twenty (20)
         days of the filing of the Request for Informal Discovery Conference.

      e. If the conference is not held within twenty (20) days of the filing of the Request for
         Informal Discovery Conference, unless extended by agreement of the parties and the
         Court, then the Request for the Informal Discovery Conference shall be deemed to have
         been denied at that time.

4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
   without the Court having acted or (c) the Informal Discovery Conference is concluded without
   resolving the dispute, then a party may file a discovery motion to address unresolved issues.

5. The parties hereby further agree that the time for making a motion • to compel or other
   discovery motion is tolled from the date of filing of the Request for Informal Discovery
   Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
   filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
   by Order of the Court.

       It is the understanding and intent of the parties that this stipulation shall, for each discovery
       dispute to which it applies, constitute a writing memorializing a "specific later date to which
       the propounding [or demanding or requesting] party and the responding party have agreed in
       writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
       2033.290(c).

6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
   an order shortening time for a motion to be heard concerning discovery.

 7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
    terminate the stipulation.

 8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
    any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
    for performing that act shall be extended to the next Court day.



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 LASC Approved 04/11             STIPULATION — DISCOVERY RESOLUTION
 For Optional Use                                                                              Page 2 of 3
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SFIORT TTVIE:                                                    CASE WIRIER:




The following parties stipulate:

Date:

                (TYPE OR PRINT NAME)                           (ATTORNEY FOR PLAINTIFF)
Date:

                (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
Date:
                (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
Date:

                (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
Date:

                (TYPE OR PRINT NAME)                   (ATTORNEY FOR
Date:

                (TYPE OR PRINT NAME)                   (ATTORNEY FOR
Date:

                (TYPE OR PRINT NAME)                   (ATTORNEY FOR




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 LASC Approved 04/11           STIPULATION — DISCOVERY RESOLUTION                         Page 3 of 3
 For Optional Use
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER                      Ranalvadfor Clerk's Ha Stamp




          TELEPHONE NO.:          -                       FAX NO.(Optional):
 E•MAtL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

PLAINTIFF:

DEFENDANT:

                                                                                                   CASE NUMBER:
                    INFORMAL DISCOVERY CONFERENCE
              (pursuant to the Discovery Resolution Stipulation of the parties)
       1. This document relates to:
             ID      Request for Informal Discovery Conference
             E]      Answer to Request for Informal Discovery Conference
       2. Deadline for Court to decide on Request:                    (insert date 10 calendar days following filing of
             the Request).

       3. Deadline for Court to hold Informal Discovery Conference:                                            (insert date 20 calendar
             days following filing of the Request).

       4. For a Request for informal Discovery Conference, briefly describe the nature of the
          discovery dispute, including the facts and legal arguments at issue. For an Answer to
          Request for Informal Discovery Conference, briefly describe why the Court should deny
          the requested discovery, including the facts and legal arguments at issue.




        LACIV 094(new)
        LASC Approved 04/11
                                               INFORMAL DISCOVERY CONFERENCE
        For Optional Use                 (pursuant to the Discovery Resolution Stipulation of the parties)
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER           Reserved tor Clerk's Fee Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                          CASE NUMBER:
              STIPULATION AND ORDER — MOTIONS IN LIMINE


       This stipulation is intended to provide fast and informal resolution of evidentiary
       issues through diligent efforts to define and discuss such issues and limit paperwork.


       The parties agree that:

       1. At least       days before the final status conference, each party will provide all other
          parties with a list containing a one paragraph explanation of each proposed motion in
          limine. Each one paragraph explanation must identify the substance of a single proposed
          motion in limine and the grounds for the proposed motion.

       2. The parties thereafter will meet and confer, either in person or via teleconference or
          videoconference, concerning all proposed motions in limine. In that meet and confer, the
          parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side's portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties' respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                 issues.

       3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
          a short joint statement of issues will be briefed and filed in accordance with the California
          Rules of Court and the Los Angeles Superior Court Rules.



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SNORT TITLE:                                                 CASE NUMBER:




The following parties stipulate:

Date:

               (TYPE OR PRINT NAME)                      (ATTORNEY FOR PLAINTIFF)
Date:

               (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                 (ATTORNEY FOR
Date:

               (TYPE OR PRINT NAME)                 (ATTORNEY FOR
Date:

               (TYPE OR PRINT NAME)                 (ATTORNEY FOR



THE COURT SO ORDERS.

   Date:
                                                              JUDICIAL OFFICER




 LACIV 075(new)
 LASC Approved 04/11     STIPULATION AND ORDER — MOTIONS IN LIMINE                  Page 2 of 2
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                  Superior Court of California, County of Los Angeles




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   • Keeps Control(with the parties): Parties choose their ADR•process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom,in private offices, by phone or online.

Disadvantages of ADR
   • Costs: If the parties do not resolve their dispute, they may have to pay for ADR and litigation and trial.
   • No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR:
   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
      settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

   2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
      strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
      acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

               Mediation may be appropriate when the parties
                 • want to work out a solution but need help from a neutral person.
                 • have communication problems or strong emotions that interfere with resolution.
               Mediation may not be appropriate when the parties
                 • want a public trial and want a judge or jury to decide the outcome.
                 • lack equal bargaining power or have a history of physical/emotional abuse.



   LASC CIV 271 Rev. 01/20                                                                                            1
   For Mandatory Use
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    3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and arguments to the
       person who decides the outcome. In "binding" arbitration, the arbitrator's decision is final; there is no right to
       trial. In "nonbinding" arbitration, any party can request a trial after the arbitrator's decision. For more
       information about arbitration, visit http://www.courts.ca.gov/programs-adr.htm

   4. Mandatory Settlement Conferences(MSC): MSCs are ordered by the Court and are often held close to the trial
      date or on the day of trial. The parties and their attorneys meet with a judge or settlement officer who does not
      make a decision but assists the parties in evaluating the strengths and weaknesses of the case and in negotiating
      a settlement. For information about the Court's MSC programs for civil cases, visit
      http://www.lacourtorddivision/civii/C10047.aspx


Los Angeles Superior Court ADR website: http://wvvw.lacourt.org/divislon/clvil/C10109.aspx
For general information and videos about ADR,visit http://www.courts.ca.goviprograms-adr.htm



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SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
Branch Name: Spring Street Courthouse
Mailing Address: 312 North Spring Street
City, State and Zip Code: Los Angeles CA 90012



SHORT TITLE: ARIA N., et al. vs TARGET CORPORATION, A MINNESOTA                   CASE NUMBER:
CORPORATION, et al.                                                               20STCV35920

          NOTICE OF CONFIRMATION OF ELECTRONIC FILING

The Electronic Filing described by the below summary data was reviewed and accepted by the Superior Court of
California, County of LOS ANGELES. In order to process the filing, the fee shown was assessed.

Electronic Filing Summary Data

Electronically Submitted By: Journal Technologies Inc.
Reference Number: EF-d3b41896d0bc
Submission Number: 20LA02588342
Court Received Date: 09/21/2020
Court Received Time: 10:45 am
Case Number: 205TCV35920
Case Title: ARIA N., et al. vs TARGET CORPORATION, A MINNESOTA CORPORATION, et al.
Location: Spring Street Courthouse
Case Type: Civil Unlimited
Case Category: Product Liability (not asbestos or toxic/environmental)
Jurisdictional Amount: Over $25,000
Notice Generated Date: 09/21/2020
Notice Generated Time: 2:17 pm

Documents Electronically Filed/Received                   Status

Complaint                                               Accepted




Summons                                                  Rejected
                                                        Reject Reason(s):
                                                        Other: Unable to issue Summons until Guardian Ad Litem order is
                                                        signed.




Civil Case Cover Sheet                                  Accepted




Application And Order For Appointment of Guardian Ad Accepted
Litem
                                     NOTICE OF CONFIRMATION OF FILING
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                                                                                                   Reserved for Clerks File Stamp
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
                                                                                                             FILED
 Spring Street Courthouse                                                                    Superior Cant et Caiferda
 312 North Spring Street, Los Angeles, CA 90012                                                 Gounty of Les AtigaMS
                                                                                                    09/210020
                   NOTICE OF CASE ASSIGNMENT                                             %chiR Cager,Exccuitiet Met/ ma OfOuni
       '
                                                                                           By               R. Fetn2                Deputy
                         UNLIMITED CIVIL CASE

                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   205TCV35920

                          THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE                DEPT     ROOM                    ASSIGNED JUDGE                       DEPT         ROOM
   1     Daniel M. Crowley                  28




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 09/21/2020                                                        By   R. Perez                                         , Deputy Clerk
                (Date)
LACIV 190(Rev 6/18)        NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
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                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1,2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to.a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190(Rev 6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
        Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 68 of 107 Page ID #:68




Notice (name extension)                            Accepted




Comments
Submitter's Comments:

Clerk's Comments:

Electronic Filind Service Provider Information
Service Provider: Journal Technologies Inc.
Contact: Journal Technologies Inc.
Phone:(877)545-1842 Ext. 1




                                    NOTICE OF CONFIRMATION OF FILING
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      E X H I B I T “B”
Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 70 of 107 Page ID #:70

                                                                         Service of Process
                                                                         Transmittal
                                                                         11/13/2020
                                                                         CT Log Number 538592082
TO:      Sue Carlson
         Target Corporation
         1000 Nicollet Mall
         Minneapolis, MN 55403-2542

RE:      Process Served in California

FOR:     Target Corporation (Domestic State: MN)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                  ARIA N., ETC., ET AL., PLTFS. vs. TARGET CORPORATION, ETC., ET AL., DFTS.
DOCUMENT(S) SERVED:               -
COURT/AGENCY:                     None Specified
                                  Case # 20STCV35920
NATURE OF ACTION:                 Product Liability Litigation - Personal Injury
ON WHOM PROCESS WAS SERVED:       C T Corporation System, Los Angeles, CA
DATE AND HOUR OF SERVICE:         By Process Server on 11/13/2020 at 01:22
JURISDICTION SERVED :             California
APPEARANCE OR ANSWER DUE:         None Specified
ATTORNEY(S) / SENDER(S):          None Specified
ACTION ITEMS:                     CT has retained the current log, Retain Date: 11/13/2020, Expected Purge Date:
                                  11/18/2020

                                  Image SOP

                                  Email Notification, Non Employee Litigation Target gl.legal@target.com

SIGNED:                           C T Corporation System
ADDRESS:                          1999 Bryan St Ste 900
                                  Dallas, TX 75201-3140
For Questions:                    877-564-7529
                                  MajorAccountTeam2@wolterskluwer.com




                                                                         Page 1 of 1 / NK
                                                                         Information displayed on this transmittal is for CT
                                                                         Corporation's record keeping purposes only and is provided to
                                                                         the recipient for quick reference. This information does not
                                                                         constitute a legal opinion as to the nature of action, the
                                                                         amount of damages, the answer date, or any information
                                                                         contained in the documents themselves. Recipient is
                                                                         responsible for interpreting said documents and for taking
                                                                         appropriate action. Signatures on certified mail receipts
                                                                         confirm receipt of package only, not contents.
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      E X H I B I T “C”
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       Encino, California 91436
6      Telephone: (424) 288-4367 | Fax: (424) 288-4368

7      Attorneys for Plaintiffs
       Aria N. by and through Guardian ad Litem Azadeh Shirazi, and Azadeh Shirazi
8
                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
9
                                  FOR THE COUNTY OF LOS ANGELES
10
       ARIA N., an individual, by and through      Case No.: 20STCV35920
11     Guardian ad Litem, AZADEH SHIRAZI;          [Assigned to the Honorable Daniel M.
12     and AZADEH SHIRAZI, an individual;          Crowley, Spring Street Dept. 28]
13                   Plaintiff,                    COMPLAINT FOR DAMAGES
       vs.
14                                                 1. NEGLIGENCE
       TARGET CORPORATION, a Minnesota
15                                                 2. STRICT LIABILITY –
       Corporation; DOREL SPORTS, an
       unincorporated business entity; PACIFIC        MANUFACTURING DEFECT
16
       CYCLE, INC., a Delaware Corporation;
       SCHWINN BICYCLE CO., an                     3. STRICT LIABILITY – DESIGN
17                                                    DEFECT
       unincorporated business entity; and DOES 1-
18     100, Inclusive,                             4. STRICT LIABILITY – FAILURE TO
                                                      WARN
19
                     Defendants.                   5. BREACH OF IMPLIED WARRANTY
20                                                    OF MERCHANTABILITY
21                                                 6. VIOLATION OF CONSUMER
                                                      PRODUCT SAFETY RULES (15 U.S.C.
22                                                    2072)
23
                                                   7. NEGLIGENT INFLICTION OF
24                                                    EMOTIONAL DISTRESS

25                                                 DEMAND FOR JURY TRIAL
26                                                 Action Filed: October 2, 2020
27                                                 Trial Date:

28

                                                   1
                                      FIRST AMENDED COMPLAINT
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1              Plaintiff Aria N., by and through his Guardian ad Litem, Azadeh Shirazi, and Plaintiff

2      Azadeh Shirazi, by and through their counsel, Abir Cohen Treyzon Salo, LLP, alleges on
3      information and belief as follows:
4                                                I.      PARTIES
5              1.      At all relevant times, Plaintiff Aria N. is and was minor younger than fourteen
6      years of age and a resident of the State of California, County of Los Angeles.
7              2.      At all relevant times, Plaintiff Azadeh Shirazi was the mother of Plaintiff Aria
8      and a resident of the State of California, County of Los Angeles.
9              3.      At all relevant times, Defendant Target Corporation (“Target”) was and is a
10     corporation duly organized under the laws of Minnesota, headquartered in Minneapolis,
11     Minnesota where its corporate board and high-level officers direct, control, and coordinate the
12     entity’s activities.
13             4.      Defendant Target Corporation has sufficient minimum contacts in California and
14     has otherwise intentionally availed itself of the California market through its activities marketing,
15     advertising, and sales activities in the State.
16             5.      Defendant Dorel Sports, previously named in this lawsuit, has been dismissed
17     without prejudice.
18             6.      At all relevant times, Defendant Pacific Cycle, Inc. (“Pacific Cycle”) was and is a
19     corporation duly organized under the laws of Delaware, headquartered in Madison, Wisconsin
20     where its corporate board and high level officers direct, control, and coordinate the entity’s
21     activities.
22             7.      Defendant Pacific Cycle is a wholly owned division and subsidiary of Defendant
23     Dorel Sports, who, together, are in a joint venture for the manufacture, design, branding,
24     distribution, and sale of bicycles trademarked with the brand names Schwinn, Mongoose, Kid
25     Trax, inStep, and Iron Horse, to and by California retail stores.
26             8.      Defendant Pacific Cycle designs, manufactures, markets, distributes, and sells
27     brand name bicycles including Schwinn, Mongoose, Kid Trax, inStep, and Iron Horse brand
28     names, all which are heavily advertised, marketed, distributed and sold in the State of California.

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                                          FIRST AMENDED COMPLAINT
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1      Defendant Pacific Cycle has sufficient minimum contacts in California and has otherwise

2      intentionally availed itself of the California market through these activities.
3             9.      Defendant Schwinn Bicycle Co, previously named in this lawsuit, has been
4      dismissed without prejudice.
5             10.     The true names and capacities, whether individual, corporate, associate, or
6      otherwise, of the Defendants named herein under the fictitious names of Does 1 though 100,
7      inclusive, are either unknown to Plaintiffs or, alternatively, the fact or basis of their liability is
8      unknown by Plaintiffs, who, therefore, sue said defendants by such fictitious names. Plaintiffs
9      may seek leave to amend their complaint and insert the true names and capacities of said
10     defendants when the same have been ascertained or when the fact of their respective liability has
11     been established. Plaintiffs are informed and believe and based thereon allege that each defendant
12     designated herein as a “Doe” is legally responsible in some manner, whether negligently, strictly,
13     recklessly, or maliciously, for the events and happenings herein alleged.
14            11.     At all times herein mentioned, each of the Defendants was the alter ego, agent,
15     servant, partner, aider and abettor, co-conspirator and/or joint venturer of each of the other
16     Defendants herein and was at all times operating and acting within the course and scope of said
17     agency, service, employment, partnership, conspiracy and/or joint venture and rendered
18     substantial assistance and encouragement to the other Defendants.
19            12.     At all times herein mentioned, Defendants were fully informed of the actions of
20     their agents, servants, partners, aiders and abettors, co-conspirators, joint venturers, and
21     employees, and thereafter no officer, director or managing agent of Defendants and each of them
22     repudiated those actions, which failure to repudiate constituted adoption and approval of said
23     actions and all Defendants and each of them, thereby ratified those actions.
24                                  II.     JURISDICTION AND VENUE
25            13.     This Court has jurisdiction over all causes of action asserted. Each Defendant
26     has sufficient minimum contacts in California or otherwise intentionally availed itself of the
27     California market through, without limitation, its design, manufacture, advertisement,
28     promotion, marketing, distribution, sale, or other participation in the stream of commerce as it

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                                          FIRST AMENDED COMPLAINT
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1      relates to their bicycle sales in the State of California, including but not limited to the

2      manufacture, design, marketing, distribution, and sale of Schwinn Falcon S2000TGI children’s
3      bicycle at issue in this case. Defendants’ contacts with the State of California are such as to
4      render the exercise of jurisdiction over them by the California courts consistent with traditional
5      notions of fair play and substantial justice.
6             14.        Venue is proper in Los Angeles County under Code of Civil Procedure section
7      395(a) based on the facts, without limitation, that: this Court is a court of competent jurisdiction;
8      Plaintiff resides in this county; the personal injury alleged herein occurred in this county; the
9      Target Corporation store where the subject bicycle was purchased is located in this county; and
10     all other Defendants conduct substantial business in this county; Defendants’ liability arose in
11     this county; and a substantial part of the events or omissions giving rise to this action occurred
12     in this county.
13            15.        This Court has jurisdiction over this matter because the damages alleged herein
14     exceed the minimal jurisdictional limit of this Court. The monetary damages sought by each
15     Plaintiff exceeds $25,000 and will be established according to proof.
16                                    III.     GENERAL ALLEGATIONS
17            16.        Prior to May 14, 2020, Defendant Pacific Cycle, in joint venture with Defendants
18     Dorel Sports and Schwinn, entered into a distribution agreement with Defendant Target for the
19     sale of its bicycles, including the Schwinn Falcon S2000TGI children’s bicycle (“Schwinn
20     Falcon”). As part of that agreement, Defendant Pacific Cycle agreed to provide several
21     Schwinn Falcon bicycles to Target in a partially assembled form with the front wheel removed.
22            17.        With knowledge of the dangers of a poorly inspected and poorly assembled
23     bicycle and knowing the bicycle would be ridden by children, Defendant Pacific Cycle provided
24     the partially assembled Schwinn Falcons to Defendant Target without instruction, guidance,
25     training, proof of qualification, and requirements of supervision and accountability as to the
26     proper inspection and assembly of the Schwinn Falcon prior to being sold to consumers.
27            18.        Prior to May 14, 2020, Defendant Target received a Schwinn Falcon with serial
28     number TOP1115A1 (the “Subject Schwinn Falcon”) from Defendant Pacific Cycle at its

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                                             FIRST AMENDED COMPLAINT
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1      Westwood, Los Angeles store. Before being sold, Defendant Target, using untrained,

2      unqualified, and poorly supervised personnel, then failed to undertake and/or negligently
3      undertook inspection and assembly of the Schwinn Falcon without tools and without training,
4      instruction, supervision, or protocols from the manufacturer or any other authority, and placed it
5      on the sales floor for sale to customers with an appearance of safety and proper assembly.
6                19.   Prior to May 14, 2020, Plaintiff purchased the Subject Schwinn Falcon from
7      Defendant Target with the express and implied assurance and appearance that the bicycle had
8      been properly inspected and assembled prior to its sale. Prior to purchase, Plaintiff’s parents
9      requested an unassembled, in-box version of the bicycle with all original materials, but were
10     refused and told the bike is only available preassembled. Upon purchase, Plaintiff was provided
11     with the Subject Schwinn Falcon. The sale of the brand-new bicycle did not include a manual,
12     instruction guide, pamphlet, or other literature related to the bike, in violation of Federal
13     regulations and industry standards. The bicycle itself contained no warnings related to
14     inspection or assembly.
15               20.   The Subject Schwinn Falcon was sold with wheel housings that lacked a positive
16     lock device, axles that were poorly tightened, wheel housing that were unable to withstand a
17     minimal amount of torque, lacked positive retention features that ensure the front hub will not
18     separate from the fork, and a front hub that fails standardized regulatory testing. The Subject
19     Schwinn Falcon also lacked an instruction manual attached to its frame, lacked an instruction
20     manual that included the proper substance, and lacked a frame that identified the month and date
21     of manufacture.
22               21.   These failures to meet the standard of care also violated consumer protection
23     standards and regulations intended to protect consumers from purchasing bicycles unsafe for
24     riding.
25               22.   These failures to meet the standard of care were unapparent and unknowable to
26     any ordinary children’s bicycle consumer, including Plaintiff and his parents.
27               23.   On May 14, 2020, while safely and reasonably riding the Subject Schwinn
28     Falcon, on the sidewalk of Loring Avenue near Warner Avenue in the Westwood neighborhood

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                                          FIRST AMENDED COMPLAINT
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1      of Los Angeles, California, Plaintiff Aria N., a 9-year-old boy, crashed face first into concrete

2      pavement. The crash occurred as a result of the front wheel and axle coming loose from the
3      front fork housing, causing wobbling and eventually separation of the wheel from the frame of
4      the bike. The preventable crash has caused Plaintiff Aria to suffer serious injuries to his hand
5      and face, including, without limitation, traumatic and long-lasting maxillofacial, endodontic,
6      dental, and orthopedic injuries, among other injuries still unknown.
7              24.     The Subject Schwinn Falcon was purchased by Plaintiff at Defendant Target
8      Corporation’s store at 20700 S. Avalon Blvd. in Los Angeles, California (“Carson Target”).
9                                       IV.    CLAIMS FOR RELIEF
10                                       FIRST CAUSE OF ACTION
11                                              NEGLIGENCE
12                                   (AS AGAINST ALL DEFENDANTS)
13             25.     Plaintiff incorporates by reference all previous paragraphs of this Complaint as if
14     fully set forth herein.
15             26.     At all relevant times, Defendants designed, controlled, manufactured, supplied,
16     assembled, inspected, and sold the Subject Schwinn Falcon.
17             27.     At all relevant times, Defendants had a duty to ensure that their products placed
18     or caused to be placed into the stream of commerce were reasonably safe, free of defects,
19     reasonably fit and suitable for their intended and foreseeable uses, that they contained adequate
20     warnings and instructions for use, that they conformed to all laws and regulations intended to
21     protect consumers, including, but not limited to consumer product safety rules.
22             28.     Defendants breached these duties when they failed, at the time of sale and
23     thereafter, to provide Plaintiff and/or Plaintiff’s parents with manufacturer manuals and
24     warnings relating to assembly and inspection of the Subject Schwinn Falcon.
25             29.     Defendants breached these duties when they failed to properly assemble the
26     Subject Schwinn Falcon before its sale to Plaintiff, in violation of industry standards, Federal
27     Hazardous Substances Act regulations, Consumer Protection Safety Act laws, Consumer
28     Protection Safety Act rules and orders, and other laws and standards, including Part 1512 of

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                                         FIRST AMENDED COMPLAINT
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1      Title 16 of the Code of Federal Regulations, all of which were designed to protect consumers

2      such as Plaintiff and all those similarly situated to him from the exact harm alleged herein .
3             30.     Defendants breached these duties when they failed to properly inspect the
4      Subject Schwinn Falcon for safety and compliance with applicable standards before its sale to
5      Plaintiff, in violation of industry standards, Federal Hazardous Substances Act regulations,
6      Consumer Protection Safety Act laws, Consumer Protection Safety Act rules and orders, and
7      other laws and standards, including Part 1512 of Title 16 of the Code of Federal Regulations, all
8      of which were designed to protect consumers such as Plaintiff and all those similarly situated to
9      him from the exact harm alleged herein.
10            31.     Defendants breached these duties when they failed to ensure that persons and
11     entities responsible for assembling bicycles at the Carson Target location were trained,
12     instructed, qualified, and supervised in a manner that complied with industry standards, Federal
13     Hazardous Substances Act regulations, Consumer Protection Safety Act laws, Consumer
14     Protection Safety Act rules and orders, and other laws and standards, including Part 1512 of
15     Title 16 of the Code of Federal Regulations, all of which were designed to protect consumers
16     such as Plaintiff and all those similarly situated to him from the exact harm alleged herein.
17            32.     Defendants breached these duties when, with knowledge or an ability to know of
18     the dangers of riding a poorly assembled bicycle and the likelihood of an improper assembly at
19     Target stores, failed to warn, or in the alternative, failed to adequately warn, or failed to instruct
20     Plaintiff and his parents of such dangers and the steps to take to minimize them.
21            33.     Defendants’ conduct failed to use the amount of care in designing,
22     manufacturing, supplying, inspecting, assembling, and selling the Subject Schwinn Falcon that a
23     reasonably careful designer, manufacturer, supplier, inspector, assembler, and seller would use
24     in the same or similar circumstances to avoid exposing consumers to foreseeable risks of harm.
25     Defendants knew or should have known that an improperly designed, manufactured, or
26     assembled front wheel housing on a child’s bicycle is likely to cause a crash and that crashes
27     have a high likelihood of producing injury, many of which are foreseeably severe. The cost to
28

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                                          FIRST AMENDED COMPLAINT
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1      ensure that the design, manufacturing, and assembly of the Schwinn Falcon’s front wheel

2      housing mitigates these risks is low cost.
3              34.     Furthermore, Defendants’ actions violated provisions of the Federal Hazardous
4      Substances Act, the Consumer Safety Protection Act, the Consumer Protection Safety Act
5      regulations, rules and order, and other laws. Each violation legally and factually caused
6      Plaintiffs’ injuries. Such injuries were and are of a nature that these statutes, laws, rules, and
7      orders were designed to prevent, and Plaintiff was among the class of persons for whose
8      protection these statutes, laws, rules, and orders were adopted.
9              35.     These acts and omissions by Defendants were substantial factors in directly and
10     proximately causing Plaintiff Aria’s severe, long-lasting injuries.
11             36.     Furthermore, Defendants knew of numerous complaints of poor assembly and
12     manufacturing of bicycles specifically related to Target and other “Big Box” stores, where
13     Defendants distribute, market, and sell their bicycles, including the Schwinn Falcon. With this
14     knowledge, Defendants, with conscious disregard for the safety of their customers, refused to
15     properly train, instruct, supervise, and otherwise ensure their Schwinn Falcon bicycles sold at
16     Target stores were assembled by people were qualified to inspect and assemble their bicycles
17     according to industry standard and state and federal laws, regulations, rules, and orders.
18             37.     Defendants acted with malice and oppression in willingly risking the safety of
19     consumers over changing their policies and agreements to comply with their duties under the
20     law, knowing that some customers, depending on Defendants to comply with laws and safety
21     standards, would suffer serious injuries because of Defendants’ avoidably defective
22     manufacturing practices. Defendants’ despicable conduct warrants an award of exemplary,
23     punitive damages under Civil Code section 3294.
24                                         SECOND CAUSE OF ACTION
25                      STRICT PRODUCT LIABILITY – MANUFACTURING DEFECT
26                                      (AS AGAINST ALL DEFENDANTS)
27             38.     Plaintiff incorporates by reference all previous paragraphs of this Complaint as if
28     fully set forth herein.

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1             39.     At all relevant times, Defendants Dorel Sports, Pacific Cycle, Schwinn, Target,

2      and Does 1-100 (hereinafter, collectively referred to as “Defendants”), as a joint venture or
3      otherwise, designed, distributed, controlled, manufactured, marketed, inspected, assembled, and
4      sold, Schwinn Falcon children’s bicycles to consumers, including Plaintiff Aria and his parents.
5             40.     At all relevant times, the Subject Schwinn Falcon, which was being used and
6      ridden by Plaintiff Aria in a reasonable and foreseeable manner, was dangerous, unsafe, and
7      defective in its manufacturing, including but not limited to, its assembly. The Subject Schwinn
8      Falcon differed from the manufacturer’s intended result and from identical Schwinn Falcons of
9      the same product line in that, among other things, its front wheel housing failed to secure the
10     wheel and wheel hub to the front fork housing of the bicycle during normal, foreseeable riding.
11            41.     These manufacturing defect(s) were present in the Subject Schwinn Bicycle
12     when it left each Defendant’s possession.
13            42.     These manufacturing defects were a substantial factor in directly and proximately
14     causing Plaintiff Aria’s serious and long-lasting injuries.
15            43.     Defendants knew of numerous complaints, over several years, of poor assembly
16     and manufacturing of bicycles specifically related to Target and other “Big Box” stores, where
17     Defendants distribute, market, and sell their bicycles, including the Schwinn Falcon. With this
18     knowledge, Defendants, with conscious disregard for the safety of their customers, refused to
19     properly train, instruct, supervise, and otherwise ensure their Schwinn Falcon bicycles sold at
20     Target stores were assembled by people were qualified to inspect and assemble their bicycles
21     according to industry standard and state and federal laws, regulations, rules, and orders.
22            44.     Defendants acted with malice and oppression in willingly risking the safety of
23     consumers over changing their policies and agreements to comply with their duties under the
24     law, knowing that some customers, depending on Defendants to comply with laws and safety
25     standards, would suffer serious injuries because of Defendants’ avoidably defective
26     manufacturing practices. Defendants’ despicable conduct warrants an award of exemplary,
27     punitive damages under Civil Code section 3294.
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1                                        THIRD CAUSE OF ACTION

2                          STRICT PRODUCT LIABILITY – DESIGN DEFECT
3                                    (AS AGAINST ALL DEFENDANTS)
4              45.     Plaintiff incorporates by reference all previous paragraphs of this Complaint as if
5      fully set forth herein.
6              46.     The Subject Schwinn Falcon was defective in its design because it did not
7      perform as safely as an ordinary consumer would have expected it to perform.
8              47.      At all relevant times, Defendants designed, fabricated, manufactured, distributed,
9      marketed, and sold the Schwinn Falcon bicycle sold to and used by Plaintiff Aria and his parents.
10             48.     An ordinary consumer would have expected the preassembled Subject Schwinn
11     Falcon bicycle, when used in a reasonable and foreseeable manner, to, among other things,
12     (1) have a front wheel, axle, and tire that sits and locks in securely to its front fork in a manner
13     that does not allow the wheel to wobble, wiggle, or separate from the bicycle’s frame; (2) uses
14     nuts and bolts that fasten to the front fork of the bike without failing; (3) have a positive locking
15     device that fastens the wheel hub to the frame and remains tightened when torqued to the
16     manufacturer’s recommendation; and (4) use a positive retention feature that keeps the wheel on
17     when the locking devices are loosened.
18             49.     Given that an unstable and/or separating front wheel has a high likelihood of
19     causing a catastrophic fall, the risks of the Schwinn Falcon’s design “features” or failures do not
20     outweigh their benefits.
21             50.     The gravity of the potential harm resulting from the use of the defective Schwinn
22     Falcon is apparent from the injuries in this case which include, without limitation, serious
23     endodontic, maxillofacial, dental, and orthopedic injuries that will affect Plaintiff Aria for years
24     and possibly decades to come.
25             51.     Given that the design defect in this case involves, among other things, the front
26     wheel of a child’s bicycle, which is an obvious critical component of safe bike riding, there is a
27     high likelihood that, if the front wheel fastening mechanism is prone to fail, loosen, insufficiently
28     tighten, or otherwise compromise how securely the front wheel locks into the bike, there is a

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1      significant likelihood of a face-forward injury if the wheel loosens, locks up, falls out, or

2      otherwise behaves in any manner other than being securely fastened to the bicycle’s frame.
3              52.     In the past and in the present, there have been hundreds and possibly thousands of
4      adult and child bicycle designs that have highly safe front wheel locking mechanisms and fail-
5      safes to ensure nuts and bolts can be properly torqued, fit the front fork housing properly,
6      implement a positive retention feature as a fail-safe, and otherwise minimize front wheel failure
7      in a manner that Defendants were unable to achieve with the instant Schwinn Falcon.
8              53.     There are several inexpensive, well-known, and standardized designs that are safe
9      and are also required by law. Defendants gained no advantage in designing a wheel housing that
10     fails to meet this (these) standard(s).
11             54.     The design defects present in the Schwinn Falcon were a substantial factor in
12     causing Plaintiff’s Aria’s injuries, both directly and proximately.
13             55.     Defendants knew of numerous complaints, over several years, of poor assembly
14     and manufacturing of bicycles specifically related to Target and other “Big Box” stores, where
15     Defendants distribute, market, and sell their bicycles, including the Schwinn Falcon. With this
16     knowledge, Defendants, with conscious disregard for the safety of their customers, refused to
17     properly train, instruct, supervise, and otherwise ensure their Schwinn Falcon bicycles sold at
18     Target stores were assembled by people were qualified to inspect and assemble their bicycles
19     according to industry standard and state and federal laws, regulations, rules, and orders.
20             56.     Defendants acted with malice and oppression in willingly risking the safety of
21     consumers over changing their policies and agreements to comply with their duties under the
22     law, knowing that some customers, depending on Defendants to comply with laws and safety
23     standards, would suffer serious injuries because of Defendants’ avoidably defective
24     manufacturing practices. Defendants’ despicable conduct warrants an award of exemplary,
25     punitive damages under Civil Code section 3294.
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27     ///
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1                                        FOURTH CAUSE OF ACTION

2                        STRICT PRODUCT LIABILITY – FAILURE TO WARN
3                                    (AS AGAINST ALL DEFENDANTS)
4              57.     Plaintiff incorporates by reference all previous paragraphs of this Complaint as if
5      fully set forth herein.
6              58.     The Subject Schwinn Falcon children’s bicycle lacked sufficient instructions and
7      warnings of potential risks involved in its operation in violation of industry laws and standards.
8              59.     At all relevant times, Defendants designed, manufactured, marketed, distributed,
9      and sold the Subject Schwinn Falcon. The Subject Schwinn Falcon had potential risks that were
10     known and/or knowable in light of the scientific knowledge that was generally accepted in the
11     scientific community at the time the Schwinn Falcon’s manufacture, distribution, and sale.
12             60.     These risks, include, without limitation, the risks of poor assembly by the retail
13     seller, the risks of poor assembly by the manufacturer, the risks of front wheel loosening and/or
14     separation and the best manner for preventing these risks.
15             61.     Given that the bicycle was sold “preassembled” by Defendants, an ordinary
16     consumer would not have recognized an observable risk of poor assembly that can cause a
17     bicycle front wheel to loosen, wobble, or separate from the frame.
18             62.     Defendants failed to adequately warn and instruct of these risks.
19             63.     When Defendants designed, manufactured, configured, assembled, marketed,
20     advertised, sold, and provided their Schwinn Falcon children’s bicycles, the product contained
21     defects and risks, including the risk of wheel loosening, wheel wobbling, and wheel separation.
22     Such defects were known or knowable by the use of scientific knowledge available at the time to
23     Defendants.
24             64.     Each known and knowable risk presented a substantial danger when the bicycle is
25     used in an intended or reasonably foreseeable way.
26             65.     Plaintiffs were not provided with a product manual or any warnings at any relevant
27     time. Even if they had, the warnings within the manual would not have adequately warned
28     Plaintiffs of the particular risks alleged here.

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1                66.    The warnings accompanying the Subject Schwinn Falcon, had they been provided,

2      failed to provide the level of information that an ordinary consumer would expect when using the
3      product in a manner reasonably foreseeable to Defendants.
4                67.    Defendants failed to provide adequate warnings, instructions, guidelines, or
5      admonitions to members of the consuming public, including Plaintiff Aria and his parents, of the
6      known and knowable design and manufacturing defects that existed in the Subject Schwinn
7      Falcon.
8                68.    Had Defendants given adequate instructions and warnings related to the assembly
9      and inspection of the Schwinn Falcon, those instructions and warnings could have reduced the
10     risk of harm to members of the public, including Plaintiff.
11               69.    Defendants knew of numerous complaints, over several years, of poor assembly
12     and manufacturing of bicycles specifically related to Target and other “Big Box” stores, where
13     Defendants distribute, market, and sell their bicycles, including the Schwinn Falcon. With this
14     knowledge, Defendants, with conscious disregard for the safety of their customers, refused to
15     warn their customers of the risks of such poor assembly.
16               70.    Defendants acted with malice and oppression in willingly risking the safety of
17     consumers over changing their policies and agreements to comply with their duties under the
18     law, knowing that some customers, depending on Defendants to comply with laws and safety
19     standards, would suffer serious injuries because of Defendants’ avoidably defective
20     manufacturing practices. Defendants’ despicable conduct warrants an award of exemplary,
21     punitive damages under Civil Code section 3294.
22                                        FIFTH CAUSE OF ACTION
23                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
24                       (AS AGAINST DEFENDANT TARGET CORPORATION)
25               71.    Plaintiff incorporates by reference all previous paragraphs of this Complaint as if
26     fully set forth herein.
27               72.    Plaintiff Aria’s parents bought the Subject Schwinn Falcon from Defendant
28     Target.

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1             73.     At the time of the purchase, Defendant Target was in the business of selling

2      bicycles, including children’s bicycles and held itself out as having special knowledge and skill
3      in bicycle sales and bicycle assembly.
4             74.     The Subject Schwinn Falcon sold to Plaintiff Aria’s parents was not of the same
5      quality of a children’s bicycle that is generally acceptable in the trade of bicycle riding, was not
6      fit for the ordinary purpose of bicycle riding, did not conform to the quality established by
7      Defendant Target’s express and implied representations, did not conform to the quality
8      established by the bicycle industry, and were not merchantable.
9             75.      Plaintiff did not have reason to believe or know that the Subject Schwinn Falcon
10     was not merchantable until he was injured by the bicycles unmerchantability.
11            76.     Plaintiff Aria suffered personal injuries because of the Subject Schwinn Falcon’s
12     unknown and unapparent unmerchantability.
13            77.     These design defects were a substantial factor in causing Plaintiff’s Aria’s injuries,
14     both directly and proximately.
15            78.     Defendants knew numerous complaints, over several years, of poor assembly and
16     manufacturing of bicycles specifically related to Target and other “Big Box” stores, where
17     Defendants distribute, market, and sell their bicycles, including the Schwinn Falcon. With this
18     knowledge, Defendants, with conscious disregard for the safety of their customers, refused to
19     properly train, instruct, supervise, and otherwise ensure their Schwinn Falcon bicycles sold at
20     Target stores were assembled by people were qualified to inspect and assemble their bicycles
21     according to industry standard and state and federal laws, regulations, rules, and orders.
22            79.     Defendants acted with malice and oppression in willingly risking the safety of
23     consumers over changing their policies and agreements to comply with their duties under the
24     law, knowing that some customers, depending on Defendants to comply with laws and safety
25     standards, would suffer serious injuries because of Defendants’ avoidably defective
26     manufacturing practices. Defendants’ despicable conduct warrants an award of exemplary,
27     punitive damages under Civil Code section 3294.
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1                                             SIXTH CAUSE OF ACTION

2                           VIOLATION OF CONSUMER PRODUCT SAFETY RULES
3                                                    (15 U.S.C. 2072)
4                                        (AS AGAINST ALL DEFENDANTS)
5              80.     Plaintiff incorporates by reference all previous paragraphs of this Complaint as if
6      fully set forth herein.
7              81.     Part 2072 of Title 15 of the United States Code creates a private right of action
8      for persons who sustain injury by reason of a knowing or willful violation of a consumer
9      product safety rule or any rule or order issued by the Consumer Product Safety Commission.
10             82.     The Consumer Product Safety Commission (CPSC) issues consumer product
11     safety standards, rules, and regulations specifically for bicycles under 16 C.F.R. 1512.
12             83.     Part 1512 of Title 16 of the Code of Federal Regulations sets out requirements
13     for the design, manufacture, and sale of bicycles. It provides, among other things:
14                     a. That wheels shall be secured to the bicycle frame with a positive lock device.
15                     b. That locking devices on threaded axles shall be tightened to the
16                          manufacturer’s specifications.
17                     c.   That non-quick release front wheel locking devices shall withstand
18                          application of a torque in the direction of removal of 12.5 foot-pounds.
19                     d. That non-quick release front hubs shall have a positive retention feature that
20                          shall be tested in accordance with the front hub retention test under part
21                          1512.18(j)(3), to assure that when the locking devices are released the wheel
22                          will not separate from the fork.
23                     e. That front wheels shall pass a front hub retention test wherein a force of 25-
24                          points is applied to the hub on a line along the slots in the fork ends when the
25                          front hub locking devices are released and pass the test by demonstrating that
26                          the front hub will not separate from the fork without help from the fenders,
27                          mudguards, struts, or brakes.
28

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1                     f. That a bicycle shall have an instruction manual attached to its frame or

2                         included with the packaged unit.
3                     g. That instruction manuals shall include operations and safety instructions,
4                         assembly instructions, and maintenance instructions.
5                     h. That bicycles shall bear a marking or label secured to the frame in a manner
6                         that cannot be removed, identifying the name of the manufacturer and the
7                         month and year of manufacture.
8              84.    Defendants, all sophisticated bicycle designer, manufacturers, assemblers,
9      marketers, and sellers, had notice of each of the foregoing requirements for the manufacture and
10     sale of the Subject Schwinn Falcon at all relevant times before, during, and after manufacture
11     and sale. Nonetheless, Plaintiffs knowingly and willfully violated each of them.
12             85.    Defendants willful and knowing violations resulted in Plaintiff Aria unknowingly
13     riding a bicycle that was unsafe for its ordinary and foreseeable uses and becoming injured as a
14     result, suffering a broken hand and significant and long-lasting facial, dental, maxillofacial, and
15     endodontic injuries. These injuries greatly exceed $10,000 exclusive of interest, costs, and
16     statutory attorney fees.
17             86.    Defendants violations were a substantial factor in causing Plaintiff Aria’s
18     injuries.
19             87.    Defendants knew of numerous complaints, over several years, of poor assembly
20     and manufacturing of bicycles specifically related to Target and other “Big Box” stores, where
21     Defendants distribute, market, and sell their bicycles, including the Schwinn Falcon. With this
22     knowledge, Defendants, with conscious disregard for the safety of their customers, refused to
23     properly train, instruct, supervise, and otherwise ensure their Schwinn Falcon bicycles sold at
24     Target stores were assembled by people were qualified to inspect and assemble their bicycles
25     according to industry standard and state and federal laws, regulations, rules, and orders.
26             88.    Defendants acted with malice and oppression in willingly risking the safety of
27     consumers over changing their policies and agreements to comply with their duties under the
28     law, knowing that some customers, depending on Defendants to comply with laws and safety

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1      standards, would suffer serious injuries as a result of Defendants’ avoidably defective

2      manufacturing practices. Defendants’ despicable conduct warrants an award of exemplary,
3      punitive damages under Civil Code section 3294.
4                                      SEVENTH CAUSE OF ACTION
5                  NELIGENT INFLICTION OF EMOTIONAL DISTRESS --BYSTANDER
6                                    (AS AGAINST ALL DEFENDANTS)
7              89.     Plaintiff incorporates by reference all previous paragraphs of this Complaint as if
8      fully set forth herein.
9              90.     Plaintiff Azadeh Shirazi suffered serious emotional distress as a result of
10     perceiving an injury to her son, Plaintiff Aria N.
11             91.     When Plaintiff Aria N. was thrown off of his bike and suffered serious, long-
12     lasting injuries, Plaintiff Shirazi was present at the scene and contemporaneously witnessed her
13     9-year-old child’s face strike the concrete and the resulting facial, dental, and maxillofacial
14     injuries that immediately followed. Plaintiff Shirazi, at all times relevant, was aware that the
15     crash was causing serious injury to her son, Plaintiff Aria N.
16             92.     As a result of this experience, Plaintiff Shirazi suffered serious emotional
17     distress.
18             93.     Defendants’ negligence in their design, manufacture, assembly, and failures to
19     warn related to the Subject Schwinn Falcon are the actual and proximate cause of Plaintiff
20     Shirazi’s serious emotional distress, including but not limited to her suffering, anguish, fright,
21     horror, nervousness, grief, anxiety, worry, shock, humiliation, and shame. These emotions were
22     felt in a manner in which an ordinary, reasonable person would be unable to cope with it.
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1                                      V.      PRAYER FOR RELIEF

2             Wherefore, Plaintiffs Aria N. by and through his Guardian ad Litem, Azadeh Shirazi,
3      and Azadeh Shirazi, as an individual, request that the Court enter an order of judgment against
4      Defendants Target Corporation, Pacific Cycle, and DOES 1-100 as follows:
5             1.      For general damages in an amount according to proof;
6             2.      For special damages in an amount according to proof;
7             3.      For post-judgment interest at the legal rate;
8             4.      For costs of suit incurred;
9             5.      For attorney fees pursuant to 15 U.S.C. 2072 and Code of Civil Procedure
10                    section 1021.5
11            6.      For exemplary or punitive damages;
12            7.      For any other damages to which Plaintiff is entitled under any applicable law;
13                    and
14            8.      For any other and further relief as this Court deems just a proper.
15
16
17     Dated: January 14, 2020                               ABIR COHEN TREYZON SALO, LLP
18
19

20                                                   By: _____________________________________
                                                            Boris Treyzon, Esq.
21                                                          Douglas A. Rochen, Esq.
                                                            Justin Eballar, Esq.
22                                                          Attorneys for Plaintiffs Aria N.,
                                                            by and through Guardian ad Litem,
23                                                          Azadeh Shirazi and Azadeh Shirazi, as an
                                                            individual
24
25

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27
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                                         FIRST AMENDED COMPLAINT
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1                                                PROOF OF SERVICE

2                             STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

3               I am employed in the County of Los Angeles, State of California. I am over the age of 18 and not
       a party to this action. My business address is 16001 Ventura Blvd., Suite 200, Encino, CA 91436.
4
               On January 14, 2021, I served the foregoing documents entitled:
5
               FIRST AMENDED COMPLAINT
6
       on all interested parties to this action by placing true copies thereof enclosed in sealed envelopes addressed
7      as follows:
8       Andrew Kohn, Esq.                                             Co-Counsel for Plaintiff
        PETTIT KOHN INGRASSIA LUTZ & DOLIN                            Dorel Sports, Pacific Cycle, Inc,
9                                                                     Schwinn Bicycle Co.
        Tel: (858) 755-8500
10      akohn@pettitkohn.com

11
        Martin D. Holly, Esq.                                         Attorneys for Defendant
        RESNICK & LOUIS, P. C.                                        TARGET CORPORATION
12
        515 S. Flower Street, 18th Floor
13      Los Angeles, CA 90071
        Tel: (213) 419-5063
14      Email: mholly@rlattorneys.com
15
16             BY MAIL: By placing a true and correct copy of the above-described document(s) in envelope(s),
       addressed as set forth above, with first class postage pre-paid for delivery to the above-named persons at
17     the above-listed addresses and depositing such envelopes in a US mail collection box.
18            BY PERSONAL SERVICE (Ex Parte): I personally delivered by hand to the attorney in attendance
       on behalf of the above-named counsel at the hearing of _____________________, in
19     Department_____of_____________________the________________Courthouse,__________, California.
20           BY ELECTRONIC MAIL BY AGREEMENT: Per agreement between counsels, I transmitted said
       document(s) to the person(s) shown above by electronic mail to the email address shown above.
21
                COURTESY COPY BY ELECTRONIC MAIL: I transmitted courtesy copies of said document(s)
22     to the person(s) shown above by electronic mail to the email address shown above.
23              STATE: I declare under penalty of perjury under the laws of the State of California that the above
       is true and correct.
24
       EXECUTED on January 14, 2021, in Los Angeles, California.
25
           Evelyn Najmi
26
                    Type or Print Name                                                 Signature
27
28

                                                             1
                                                   PROOF OF SERVICE
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      E X H I B I T “D”
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      E X H I B I T “E”
Business Search - Case
                  Case2:21-cv-00453
                  Business 2:20-cv-11380         Document
                                                  Document
                           Entities - Business Programs         11 Sec...
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         Alex Padilla
         California Secretary of State


             0, Business Search - Entity Detail
             The California Business Search is updated daily and reflects work processed through Tuesday, November 24, 2020. Please
             refer to document Processing Times for the received dates of filings currently being processed. The data provided is not a
             complete or certified record of an entity. Not all images are available online.

             C2717922             PACIFIC CYCLE INC.
                Registration Date:                                              01/14/2005
                Jurisdiction:                                                   DELAWARE
                Entity Type:                                                    FOREIGN STOCK
                Status:                                                         ACTIVE
                Agent for Service of Process:                                   CORPORATION SERVICE COMPANY WHICH
                                                                                WILL DO BUSINESS IN CALIFORNIA AS CSC -
                                                                                LAWYERS INCORPORATING SERVICE
                                                                                (C1592199)
                                                                                To find the most current California registered Corporate
                                                                                Agent for Service of Process address and authorized
                                                                                employee(s) information, click the link above and then
                                                                                select the most current 1505 Certificate.

                Entity Address:                                                 4902 HAMMERSLEY RD
                                                                                MADISON WI 53711
                Entity Mailing Address:                                         4902 HAMMERSLEY RD
                                                                                MADISON WI 53711

                       Certificate of Status


             A Statement of Information is due EVERY year beginning five months before and through the end of January.


              Document Type                                            lt   File Date                               PDF

              SI-COMPLETE                                                   12/13/2019


              SI-COMPLETE                                                   11/28/2018


              REGISTRATION                                                  01/14/2005



             * Indicates the information is not contained in the California Secretary of State's database.

                  • If the status of the corporation is "Surrender," the agent for service of process is automatically revoked. Please refer
                      to California Corporations Code section 2114 for information relating to service upon corporations that have
                      surrendered.
                  •   For information on checking or reserving a name, refer to Name Availability.
                  •   If the image is not available online, for information on ordering a copy refer to Information Requests.
                  •   For information on ordering certificates, status reports, certified copies of documents and copies of documents not



1 of 2                                                                                                                                 11/25/2020, 2:29 PM
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Business Search - Case
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                  Business 2:20-cv-11380         Document
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                           Entities - Business Programs         11 Sec...
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                                                                                                      ofhttps://businesssearch.sos.ca.gov/CBS/Detail
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                       currently available in the Business Search or to request a more extensive search for records, refer to Information
                       Requests.
                   •   For help with searching an entity name, refer to Search Tips.
                   •   For descriptions of the various fields and status types, refer to Frequently Asked Questions.


                 Modify Search
            '-                           r New Search             Back to Search Results




2 of 2                                                                                                                                11/25/2020, 2:29 PM
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                                                                                                                                                                   CIV-110
ATTORNEY OR PARTY WITHOUT ATTORNEY:                             STATE BAR NO:    294718                                              FOR COURT USE ONLY
NAME:  Justin J. Eballar
FIRM NAME: ABIR COHEN TREYZON SALO, LLP
STREET ADDRESS: 16001 Ventura Blvd., Ste. 200
CITY: Encino                                                          STATE:   CA          ZIP CODE:   91436
TELEPHONE NO.: 310-407-7888                                          FAX NO. :

E-MAIL ADDRESS: jeballar@actslaw.com

ATTORNEY FOR (Name): Plaintiff ARIA N.

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
 STREET ADDRESS:      312 N. Spring Street
 MAILING ADDRESS:     312 N. Spring treet
CITY AND ZIP CODE:    Los Angeles, CA 90012
     BRANCH NAME:     Spring Street Courthouse
        Plaintiff/Petitioner: ARIA N.
Defendant/Respondent: TARGET CORPORATION, et al.
                                                                                                                     CASE NUMBER:
                                       REQUEST FOR DISMISSAL                                                         20STCV35920
 A conformed copy will not be returned by the clerk unless a method of return is provided with the document.
 This form may not be used for dismissal of a derivative action or a class action or of any party or cause of action in a class
 action. (Cal. Rules of Court, rules 3.760 and 3.770.)
1. TO THE CLERK: Please dismiss this action as follows:
   a. (1)     With prejudice
                D               (2) [K] Without prejudice
   b. (1)     Complaint
                D               (2)        Petition      D
          (3)   D       Cross-complaint filed by (name):                                                                on (date):
          (4)   D       Cross-complaint filed by (name):                                                                on (date):
          (5)   D       Entire action of all parties and all causes of action
        (6) [K] Other (specify):* All actions ONLY against Defendants Schwinn Bicycle Co. and Dorel Sports
2. (Complete in all cases except family law cases.)
    The court      D   did 0      did not waive court fees and costs for a party in this case. (This information may be obtained from the
    clerk. If court fees and costs were waived, the declaration on the back of this form must be completed).
Date: 11/30/2020
Justin J. Eballar
(TYPE OR PRINT NAME OF      [K]     ATTORNEY
                                                 D       PARTY WITHOUT ATTORNEY)                  ►             ~
                                                                                                                )           (SIGNATURE)

*If dismissal requested is of specified parties only of specified causes of action only,          Attorney or party without attorney for:
or of specified cross-complaints only, so state and identify the parties, causes of               [K] Plaintiff/Petitioner           Defendant/Respondent
action, or cross-complaints to be dismissed.                                                                                 D
                                                                                                  D     Cross Complainant

3. TO THE CLERK: Consent to the above dismissal is hereby given.**
Date:

(TYPE OR PRINT NAME OF
                            D       ATTORNEY
                                                  D       PARTY WITHOUT ATTORNEY)                 ►                         (SIGNATURE)

** If a cross-complaint – or Response (Family Law) seeking affirmative                            Attorney or party without attorney for:
relief – is on file, the attorney for cross-complainant (respondent) must sign
this consent if required by Code of Civil Procedure section 581 (i) or (j).                       D     Plaintiff/Petitioner D       Defendant/Respondent
                                                                                                  D     Cross Complainant

(To be completed by clerk)
4.   D   Dismissal entered as requested on (date):
5    D       Dismissal entered on (date):                             as to only (name):
6.   D       Dismissal not entered as requested for the following reasons (specify):


7. a.    D       Attorney or party without attorney notified on (date):
   b.    D       Attorney or party without attorney not notified. Filing party failed to provide
                  D    a copy to be conformed               means to return conformed copy
                                                                 D
Date:                                                          Clerk, by                                                                       , Deputy              Page 1 of 2

Form Adopted for Mandatory Use                                                                                                 Code of Civil Procedure, § 581 et seq.; Gov. Code,
Judicial Council of California                                       REQUEST FOR DISMISSAL                                           § 68637(c); Cal. Rules of Court, rule 3.1390
CIV-110 [Rev. Jan. 1, 2013]                                                                                                                                   www.courts.ca.gov



                                                                                                                                                                          Exhibit 4
                                                                                                                                                                                34
                   Case
                   Case2:21-cv-00453
                        2:20-cv-11380 Document
                                      Document11 Filed
                                                 Filed01/15/21
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                                                                              PageID
                                                                                   ID#:35
                                                                                     #:99
                                                                                                                                   CIV-110
                                                                                                  CASE NUMBER:
          Plaintiff/Petitioner: ARIA N.
                                                                                                  56-2020-00542044-CU-PO-VTA
Defendant/Respondent: TARGET CORPORATION, et al.




                                     COURT'S RECOVERY OF WAIVED COURT FEES AND COSTS
                    If a party whose court fees and costs were initially waived has recovered or will recover $10,000 or more in
                    value by way of settlement, compromise, arbitration award, mediation settlement, or other means, the
                    court has a statutory lien on that recovery. The court may refuse to dismiss the case until the lien is
                    satisfied. (Gov. Code, § 68637.)


                                             Declaration Concerning Waived Court Fees
1. The court waived court fees and costs in this action for (name):

2. The person named in item 1 is (check one below):
     a.    D       not recovering anything of value by this action.
     b.    D       recovering less than $10,000 in value by this action.
     c.    D       recovering $10,000 or more in value by this action. (If item 2c is checked, item 3 must be completed.)
3.   D       All court fees and court costs that were waived in this action have been paid to the court (check one):         Yes      No

I declare under penalty of perjury under the laws of the State of California that the information above is true and correct.

Date:


                                                                                                         (SIGNATURE)
(TYPE OR PRINT NAME OF       D   ATTORNEY
                                            D    PARTY MAKING DECLARATION)




CIV-110 [Rev. January 1, 2013]                            REQUEST FOR DISMISSAL                                                    Page 2 of 2



                                                                                                                                       Exhibit 4
                                                                                                                                             35
     Case
      Case2:21-cv-00453
            2:20-cv-11380Document
                          Document1 1Filed
                                       Filed
                                           01/15/21
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                                                                     PageID
                                                                          ID#:36
                                                                            #:100



 1                                               PROOF OF SERVICE

 2                            STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

 3              I am employed in the County of Los Angeles, State of California. I am over the age of 18 and not
       a party to this action. My business address is 16001 Ventura Blvd., Suite 200, Encino, CA 91436.
 4
               On November 30, 2020, I served the foregoing documents entitled:
 5
               REQUEST FOR DISMISSAL
 6

 7     on all interested parties to this action by placing true copies thereof enclosed in sealed envelopes addressed
       as follows:
 8
          Andrew Kohn, Esq.                                         Attorney for Defendants
 9        PETTIT KOHN INGRASSIA LUTZ & DOLIN                        Dorel Sports, Pacific Cycle, Inc, Schwinn
          Tel: (858) 755-8500                                       Bicycle Co.
10        akohn@pettitkohn.com
11

12
13
               BY MAIL: By placing a true and correct copy of the above-described document(s) in envelope(s),
14     addressed as set forth above, with first class postage pre-paid for delivery to the above-named persons at
       the above-listed addresses and depositing such envelopes in a US mail collection box.
15
                BY OVER NIGHT DELIVERY, VIA GOLDEN STATE OVERNIGHT: I gave the document(s) to
16     our overnight courier service for its daily pick-up for delivery to the offices of the addressee, addressed as
       set forth above.
17
              BY PERSONAL SERVICE (Ex Parte): I personally delivered by hand to the attorney in attendance
18     on behalf of the above-named counsel at the hearing of _____________________, in
       Department_____of_____________________the________________Courthouse,__________, California.
19
             BY ELECTRONIC MAIL BY AGREEMENT: Per agreement between counsels, I transmitted said
20     document(s) to the person(s) shown above by electronic mail to the email address shown above.
21              COURTESY COPY BY ELECTRONIC MAIL: I transmitted courtesy copies of said document(s)
       to the person(s) shown above by electronic mail to the email address shown above.
22
              FEDERAL:         I declare that I am employed in the office of a member of the bar of this court at
23     whose direction the service was made.
24              STATE: I declare under penalty of perjury under the laws of the State of California that the above
       is true and correct.
25
       EXECUTED on November 30, 2020, in Los Angeles, California.
26
           Evelyn Najmi
27                  Type or Print Name                                                 Signature
28

                                                            1
                                                   PROOF OF SERVICE

                                                                                                                        Exhibit 4
                                                                                                                              36
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       E X H I B I T “G”
Case
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       2:20-cv-11380Document
                     Document1 1Filed
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                                                                       #:102


From:                       Justin Eballar
To:                         Andrew Kohn
Cc:                         Evelyn Najmi; Carey Eshelman; Lisa Remsnyder; Teresa Saucedo
Subject:                    RE: Aria N. v. Target, et al. - Ongoing M&C
Date:                       Monday, December 7, 2020 4:42:44 PM


Understood. We cannot agree to limit damages.


From: Andrew Kohn <akohn@PettitKohn.com>
Sent: Monday, December 7, 2020 4:22 PM
To: Justin Eballar <jeballar@actslaw.com>
Cc: Evelyn Najmi <enajmi@actslaw.com>; Carey Eshelman <ceshelman@PettitKohn.com>; Lisa
Remsnyder <lremsnyder@PettitKohn.com>; Teresa Saucedo <tsaucedo@PettitKohn.com>
Subject: Re: Aria N. v. Target, et al. - Ongoing M&C

Yes, unless your office would agree to limit damages to $75k

Sent from my phone, please excuse brevity and typos.



           On Dec 7, 2020, at 4:13 PM, Justin Eballar <jeballar@actslaw.com> wrote:

       ﻿
       We do. Do you intend to file for removal?

       Sent from my T-Mobile 4G LTE Device
       Get Outlook for Android


       From: Andrew Kohn <akohn@PettitKohn.com>
       Sent: Monday, December 7, 2020 3:53:14 PM
       To: Justin Eballar <jeballar@actslaw.com>
       Cc: Evelyn Najmi <enajmi@actslaw.com>; Carey Eshelman
       <ceshelman@PettitKohn.com>; Lisa Remsnyder <lremsnyder@PettitKohn.com>;
       Teresa Saucedo <tsaucedo@PettitKohn.com>
       Subject: RE: Aria N. v. Target, et al. - Ongoing M&C

       Justin: does your office view this case as one with greater than $75,000 in damages
       exposure? I ask to sort out whether this belongs in state or federal court. Please
       advise when you can. Thank you.

       Drew

           Andrew N. Kohn, Esq.
           CEO/Shareholder
           Main (858) 755-8500
           akohn@pettitkohn.com
           <image001.png>




                                                                                             Exhibit 7
                                                                                                   45
Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 103 of 107 Page ID #:103




       E X H I B I T “H”
            Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 104 of 107 Page ID #:104



            1   Andrew N. Kohn, Esq., SBN 166385
                Carey J. Eshelman, Esq., SBN 300610
            2   PETTIT KOHN INGRASSIA LUTZ & DOLIN PC
                11622 El Camino Real, Suite 300
            3   San Diego, CA 92130
                Telephone: (858) 755-8500
            4   Facsimile: (858) 755-8504
                E-mail: akohn@pettitkohn.com
            5          ceshelman@pettitkohn.com
            6   Attorneys for Defendant
                PACIFIC CYCLE, INC.
            7

            8                        UNITED STATES DISTRICT COURT
            9          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
        10

        11      A. N., an individual, by and through       CASE NO.:
                Guardian ad Litem, AZADEH,
        12      SHIRAZI; and AZADEH SHIRAZI,
                an individual,                             DECLARATION OF ANDREW N.
        13                                                 KOHN, ESQ. REGARDING PACIFIC
                                   Plaintiffs,             CYCLE, INC.’S CONSENT TO
        14                                                 TARGET CORPORATION’S
                v.                                         NOTICE OF REMOVAL OF
        15                                                 ACTION
                TARGET CORPORATION, a
        16      Minnesota Corporation; DOREL
                SPORTS, an unincorporated business
        17      entity; PACIFIC CYCLE, INC., a
                Delaware Corporation; SCHWINN
        18      BICYCLE CO., an unincorporated
                business entity; and DOES 1-100,
        19
                                   Defendants.
        20

        21

        22             I, Andrew N. Kohn, Esq., declare:
        23             1.    I am an attorney at law duly licensed to practice before all the courts of
        24      the State of California. I am a shareholder with the law firm of Pettit Kohn
        25      Ingrassia Lutz & Dolin PC, attorneys of record for Defendant PACIFIC CYCLE,
        26      INC.
        27      ///
        28      ///
                                                           1
1679-1022
                      DEC. OF ANDREW N. KOHN RE CONSENT TO REMOVAL OF ACTION
            Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 105 of 107 Page ID #:105



            1         2.     I am familiar with the facts and proceedings of this case and if called
            2   as a witness, I could and would competently testify to the following facts from my
            3   own personal knowledge.
            4         3.     Defendant PACIFIC CYCLE, INC. consents to Defendant TARGET
            5   CORPORATION’s removal of the above-captioned action.
            6         4.     Defendant PACIFIC CYCLE, INC.’s Joinder and Consent to Notice of
            7   Removal Filed by TARGET CORPORATION will be filed immediately after
            8   Defendant TARGET CORPORATION’s removal papers are filed with the Court.
            9         I declare under penalty of perjury pursuant to the laws of the State of
        10      California that the foregoing is true and correct, except as to those matters which
        11      are stated upon information and belief, and as to such matters, I am informed and
        12      believe that they are true and correct.
        13            Executed this 8th day of January 2021, in San Diego, California.
        14

        15                                                s/ Andrew N. Kohn
                                                          Andrew N. Kohn, Esq.
        16                                                Email: akohn@pettitkohn.com
        17

        18

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1679-1022
                    DEC. OF ANDREW N. KOHN RE CONSENT TO REMOVAL OF ACTION
      Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 106 of 107 Page ID #:106




 1                                   PROOF OF SERVICE
 2
          I am employed in the County of Los Angeles, State of California. I am over the
 3 age of 18 and not a party to the within action. My business address is: 515 S. Flower
 4 Street, 18 Floor, Los Angeles, California.
             th


 5
            On January 15, 2021, I served the foregoing document(s) described as:
 6 NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1441(b)
 7 (DIVERSITY); DECLARATION OF MARTIN D. HOLLY on the interested
     parties in this action by sending a true copy of the document to the following parties
 8
     as follows:
 9
10     X      (BY ELECTRONIC MAIL) I caused the document(s) to be successfully
              transmitted via electronic mail the offices of the addressees.
11   ____     (BY FACSIMILE) I transmitted, pursuant to Rule 2.306, the above-described
12            document by facsimile machine (which complied with Rule 3003(3)), to the
              attached listed fax number(s). The transmission originated from facsimile
13
              phone number (213) 419-5063 and was reported as complete and without error.
14            (BY US MAIL) I caused such sealed envelope(s) with postage thereon fully
15
              prepaid to be placed in the United States mail at Los Angeles, California. I am
              readily familiar with this business' practice for collecting and processing
16            correspondence for mailing. On the same day that correspondence is placed for
17            collection and mailing, it is deposited in the ordinary course of business with
              the United States Postal Service to:
18
19                                         SEE SERVICE LIST
20
21       I declare under penalty of perjury under the laws of the State of California that the
22 foregoing is true and correct.
23
            Executed on January 15, 2021, at Los Angeles, California.
24
25
26
                                     By:    ______________________________
                                            Jodie Alamillo
27                                          An Employee of Resnick & Louis, P.C.
28



                                                 8
                                         PROOF OF SERVICE
     Case 2:21-cv-00453 Document 1 Filed 01/15/21 Page 107 of 107 Page ID #:107




 1                                 SERVICE LIST
                        SHIRAZI v. TARGET CORPORATION
 2
 3                                Attorneys for Plaintiffs
     ARIA N., an individual, by and through Guardian ad Litem, AZADEH SHIRAZI;
 4
                                 and AZADEH SHIRAZI
 5
 6
                                 Boris Treyzon, Esq.
                                 Justin Eballar, Esq.
 7                      ABIR COHEN TREYZON SALO, LLP
 8                        16001 Ventura Boulevard, Suite 200
                               Encino, California 91436
 9                 Telephone: 424.288.4367; Facsimile: 424.288.4368
10                          Email: btreyzon@actslaw.com
                             Email: jeballar@actslaw.com
11
12
13                       Attorneys for Defendant Pacific Cycle
14                              Andrew N. Kohn, Esq.
15                              Carey J. Eshelman, Esq.
                   PETTIT KOHN INGRASSIA LUTZ & DOLIN, PC
16
                           11622 El Camino Real, Suite 300
17                            San Diego, California 92130
18
                   Telephone: 858.755.8500; Facsimile: 858.755.8504
                            Email: akohn@pettitkohn.com
19                        Email: ceshelman@pettitkohn.com
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                                    PROOF OF SERVICE
